Case 1:06-cv-00765-TJM-DRH Document 320-1 Filed 11/29/09 Page 1 of 30




          ATTACHMENT A
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                                 LEXSEE 2007 U.S. DIST. LEXIS 66208




Positive
As of: Nov 27, 2009

                           In re CRUDE OIL COMMODITY LITIGATION

                                     Master File 06 Civ. 6677 (NRB)

             UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT
                                  OF NEW YORK

                                       2007 U.S. Dist. LEXIS 66208


                                       September 7, 2007, Decided
                                        September 7, 2007, Filed

PRIOR HISTORY: In re Crude Oil Commodity
                                                           Plaintiffs Richard Hershey, Michael Anastasio,
Litig., 2007 U.S. Dist. LEXIS 47902 (S.D.N.Y.,
                                                       Peter C. Fede, Fred Dray, Max Wulff, and Roberto
June 28, 2007)
                                                       Calle Gracey (collectively, "plaintiffs") brought this
                                                       case on behalf of themselves and all others who
                                                       purchased and/or sold light, sweet crude oil futures
COUNSEL: [*1] For Plaintiffs: Geoffrey M.
                                                       and options contracts on the New York Mercantile
Horn, Esq., Vincent Briganti, Esq., Lowey Dannen-
                                                       Exchange ("NYMEX"), alleging that BP America,
berg Bemporad Sellinger & Cohen, P.C., White
                                                       Inc., BP Products North America, Inc., BP Corpora-
Plains, NY.
                                                       tion North America, Inc., and defendants John Does
                                                       1-10 (collectively "defendants") acted to unlawfully
For Defendant: Leslie Smith, Esq., Bredale Rucker,
                                                       manipulate the prices of light, sweet crude oil fu-
Esq., Kirkland & Ellis, Chicago, IL; Peter D. Doyle,
                                                       tures and options contracts traded on the NYMEX
Esq., Kirkland & Ellis LLP, New York, NY.
                                                       during the putative class period, starting on January
                                                       1, 2001 and continuing until a date unknown by the
JUDGES: NAOMI REICE BUCHWALD, UNIT-
                                                       plaintiffs but believed to extend at least until De-
ED STATES DISTRICT JUDGE.
                                                       cember 31, 2004, in contravention [*2] of the
                                                       Commodity Exchange Act ("CEA"), as amended, 7
OPINION BY: NAOMI REICE BUCHWALD
                                                       U.S.C. § 1 et seq. Defendants moved to dismiss the
                                                       complaint pursuant to Rule 12(b)(6) on the ground
OPINION
                                                       that the complaint failed to meet the pleading re-
    MEMORANDUM AND ORDER                               quirements of Rules 8(a) and 9(b) of the Federal
                                                       Rules of Civil Procedure. On June 28, 2007, we
NAOMI REICE BUCHWALD,                     UNITED       issued a Memorandum and Order (" Opinion ")
STATES DISTRICT JUDGE                                  granting defendants' motion and dismissing the case
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                                         2007 U.S. Dist. LEXIS 66208, *


in its entirety. In re Crude Oil Commodity Litiga-        should apply to plaintiffs' CEA claim, since the ac-
tion, No. 06 Civ. 6677 (NRB), 2007 U.S. Dist.             tions allegedly taken in furtherance of defendants'
LEXIS 47902, 2007 WL 1946553 (S.D.N.Y. June               market manipulation scheme sounded in fraud, and
28, 2007). Plaintiffs have now moved for: (1) re-         that the conclusory nature of the Consolidated
consideration of our Opinion dismissing the case          Amended Complaint not only failed to satisfy the
pursuant to Local Civil Rule 6.3; (2) the alteration      heightened pleading standard of Rule 9(b), but also
or amendment of the Order and Judgment dated              the notice pleading standard of Rule 8(a). Thus,
June 29, 2007 to provide that the dismissal be with-      receipt of this letter by plaintiffs put them on notice
out prejudice, pursuant to Fed. R. Civ. P. 59(e); and     of the grounds for defendants' intended motion to
(3) leave to file an amended complaint within 60          dismiss. Plaintiffs chose to respond to this letter by
days from the date of the Order and Judgment, pur-        asserting that defendants' proposed motion was
suant to Fed. R. Civ. P. 15(a). For the reasons set       without merit and without requesting leave to
forth below, plaintiffs' motions are denied.              amend their Consolidated Amended Complaint.
    BACKGROUND                                                Defendants served their motion on February 16,
                                                          2007, the substance of which mirrored the letter
    We believe that a brief review of the procedural
                                                          they had previously submitted. Plaintiffs could have
history of this case is necessary to contextualize
                                                          responded to the motion by filing an amended com-
plaintiffs' motions and to demonstrate the numerous
                                                          plaint, but chose not to do so. Instead, in footnote
previous opportunities plaintiffs were [*3] ac-
                                                          27 of their opposition brief, plaintiffs simply noted
corded to remedy the conclusory nature of their
                                                          that "[i]n the event that this Court concludes the
complaint and/or to request permission to do so.
                                                          Complaint's allegations are inadequate, Plaintiffs
     First, at the outset, it should be noted the com-    [*5] request leave to amend." See Plaintiff's Memo-
plaint which was the subject of the Opinion was a         randum of Law in Opposition ("Pl. Mem. Opp.") at
Consolidated Amended Complaint (sometimes re-             24 n.27.
ferred to as the "Complaint") filed after this Court
                                                              Given plaintiffs' decision to rest on the Consol-
signed an order on October 16, 2006, consolidating
                                                          idated Amended Complaint, we considered the mo-
five separately filed cases 1 and granting the plain-
                                                          tion to dismiss and on June 28, 2007, we issued our
tiffs 60 days to file a consolidated complaint. On
                                                          23 page Opinion . We concluded that plaintiffs'
December 26, 2006, plaintiffs, represented by three
                                                          Consolidated Amended Complaint was "replete
well-recognized and experienced class action law
                                                          with innuendo and devoid of detail," In re Crude
firms as interim class counsel, filed the 27 page
                                                          Oil Commodity Litigation, 2007 U.S. Dist. LEXIS
Consolidated Amended Complaint, which was not
                                                          47902, 2007 WL 1946553 at *7, and that in light of
only twice the length of the previously submitted
                                                          In re Natural Gas Commodity Litigation, 358 F.
complaints, but was also substantively different
                                                          Supp. 2d 336, 343 (S.D.N.Y. 2005), which applied
than the original complaints in that it contained ad-
                                                          Rule 9(b) to claims of market manipulation under
ditional theories of how defendants purportedly
                                                          the CEA, the Consolidated Amended Complaint
worked to manipulate the market of crude oil in
                                                          should be dismissed for failure to fulfill the plead-
violation of the CEA.
                                                          ing requirements of Rule 9(b). 2
       1 We note that one of the complaints in the
                                                                 2 We note that In re Natural Gas Com-
       individual cases had been amended prior to
                                                                 modity Litigation, cited by both plaintiffs and
       consolidation.
                                                                 defendants in their papers, is the authority
    The second opportunity plaintiffs had to amend               from this Circuit which considered the issue
was afforded to them on February 14, 2007, when                  of whether Rule 9(b) should apply to claims
pursuant to this Court's individual practices, defen-            of market manipulation under the CEA.
dants wrote to this Court stating their [*4] intention
                                                              As noted earlier, on July 16, 2007, plaintiffs
to file a motion to dismiss pursuant to Rule
                                                          moved for: (1) reconsideration of the Opinion dis-
12(b)(6). The three page letter explained that the
                                                          missing the action with prejudice pursuant to Local
basis for the proposed motion was that Rule 9(b)
                                                          Civil Rule 6.3; (2) alteration or amendment of the
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Order and Judgment [*6] dated June 29, 2007 to             Public Offering Sec. Litig., 399 F. Supp. 2d 298,
provide that the dismissal be without prejudice, pur-      300 (S.D.N.Y. 2005) (internal citation and quota-
suant to Rule 59(e); and (3) for leave to file an          tion marks omitted), aff'd sub nom Tenney v. Credit
amended complaint pursuant to Rule 15(a). 3 Cu-            Suisse First Boston Corp., Inc., 2006 U.S. App.
riously, neither the moving memorandum nor the             LEXIS 13050, 2006 WL 1423785 (2d Cir. May 19,
reply memorandum mention any substantive basis             2006), and appropriate only when [*8] a court
on the merits for reconsideration of our decision to       overlooks "controlling decisions or factual matters
dismiss the complaint, nor any substantive law             that were put before it on the underlying motion"
overlooked by this Court in coming to its decision.        and which, if examined, might reasonably have led
Instead, in a footnote, plaintiffs state that "[i]n mov-   to a different result. Eisemann v. Greene, 204 F.3d
ing for reconsideration of the Order on the grounds        393, 395 n.2 (2d Cir. 2000). Moreover, a motion for
that the action should not have been dismissed with        reconsideration should not be treated as a "second
prejudice and that Plaintiffs should have been             bite of at the apple" for a party dissatisfied with a
granted leave to amend the Complaint . . . Plaintiffs      court's ruling. Sequa Corp. v. GBJ Corp., 156 F.3d
do not waive, and hereby preserve, arguments               136, 144 (2d Cir. 1998). Similarly, it is not appro-
which Plaintiffs believe are more appropriate for          priate to use a motion for reconsideration as a ve-
resolution after the Court renders its decision on the     hicle to advance new theories a party failed to arti-
relief requested herein." Plaintiff's Memorandum of        culate in arguing the underlying motion. See Griffin
Law in Support of Plaintiffs' Motion for Reconside-        Ins., Inc. v. Petrojam, Ltd., 72 F. Supp. 2d 365, 368
ration at 2 n.1. Plaintiffs then recite three arguments    (S.D.N.Y. 1999). We read the total absence of any
they appear to wish to preserve, all of which were         substantive argument in plaintiffs' submissions ad-
considered in our previous Opinion.                        dressed to the merits of our dismissal of the Consol-
                                                           idated Amended Complaint as indicating that plain-
       3 The tripartite motion recognizes existing         tiffs seek reconsideration of our decision only with
       Second Circuit precedent which requires that        regard to the dismissal with prejudice. Whether this
       following the entry of judgment dismissing          is an acknowledgement of the weakness of plain-
       [*7] a complaint, relief therefrom must be          tiffs' arguments on their merits or an effort to pre-
       sought under Rule 59 before leave to amend          serve any substantive arguments for appeal is not an
       may be granted (National Petrochemical Co.          issue we need to resolve.
       v. M/T Stolt, 930 F.2d 240, 244 (2d Cir.
                                                                We deny plaintiffs' request for reconsideration
       1991)) and that the right to amend provided
                                                           [*9] of our decision to dismiss with prejudice be-
       for in Rule 15(a) terminates after a motion to
                                                           cause plaintiffs have failed to provide us with a co-
       dismiss is granted. Elfenbein v. Gulf & West-
                                                           gent reason to do so. It should be clear at the outset
       ern Indus. Inc., 590 F.2d 445, 448 n.1 (2d
                                                           that the decision to dismiss with prejudice was a
       Cir. 1978).
                                                           deliberate one, made with an awareness of the mul-
    In their papers, plaintiffs cite to various lines of   tiple opportunities presented to and spurned by
authority which are not wholly reconcilable. How-          plaintiffs to amend their complaint in lieu of oppos-
ever, this is not the occasion to engage in that re-       ing the substance of the motion. Moreover, plain-
conciliation effort as the procedural history of this      tiffs failed in their original briefing to properly
case is readily distinguishable from the cases cited       present the issue now raised. Plaintiffs' purported
to us. Instead, we shall turn to the specifics of the      request for leave to amend was contained within a
motion before us.                                          footnote in their opposition brief. Arguments which
                                                           appear in footnotes are generally deemed to have
1. Motion for Reconsideration and/or Alteration            been waived. Cf. City of Syracuse v. Onondaga
or Amendment of Order                                      County, 464 F.3d 297, 308 (2d Cir. 2006) (quoting
                                                           Norton v. Sam's Club, 145 F.3d 114, 117 (2d Cir.
    A motion for reconsideration pursuant to Local
                                                           1998)). Accordingly, "[i]t is within the court's dis-
Rule 6.3 is "an extraordinary remedy to be em-
                                                           cretion to deny leave to amend implicitly by not
ployed sparingly in the interests of finality and con-
                                                           addressing the request when leave is requested in-
servation of scarce judicial resources," In re Initial
                                                           formally in a brief filed in opposition to a motion to
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dismiss." In re Tamoxifen Citrate Antitrust Litiga-       plaintiffs even argue that they are not obligated to
tion, 429 F.3d 370, 404 (2d Cir. 2005), opinion           do so. See Plaintiffs' Reply Memorandum of Law at
amended and superceded by 466 F.3d 187 (2d Cir.           5. However, Rule 7(b) requires that all motions
2006) (finding no abuse of discretion in district         "state with particularity the grounds therefore, and
court's [*10] effective denial of plaintiffs' request     shall set forth the relief or order sought." Fed. R.
to amend "which appeared in a footnote in the mid-        Civ. P. 7(b)(1). In the context of a motion to amend,
dle of the brief opposing the defendants' motion to       Rule 7(b) accordingly requires the [*12] movant to
dismiss"). Thus, in light of the failure of plaintiffs    supply a copy of the proposed amendment. See
to request leave to amend in a procedurally sound         Bankruptcy Trust of Gerard Sillam v. REFCO
manner, our dismissal with prejudice did not over-        Group, LLC, No. 05 Civ. 10072 (GEL), 2006 U.S.
look any controlling authority. Shields v. Citytrust      Dist. LEXIS 54245, 2006 WL 2129786, at *5
Bancorp, 25 F.3d 1124, 1132 (2d Cir. 1994) ("Al-          (S.D.N.Y. July 28, 2006); Smith v. Planas, 151
though federal courts are inclined to grant leave to      F.R.D. 547, 550 (S.D.N.Y. 1993) ("In order to satis-
amend following a dismissal order, we do not deem         fy a prerequisite of particularity in a motion to
it an abuse of the district court's discretion to order   amend, a complete copy of the proposed amended
a case closed when leave to amend has not been            complaint must accompany the motion so that both
sought.").                                                the Court and the opposing parties can understand
                                                          the exact changes sought."). Absent the opportunity
2. Leave to Amend                                         to review plaintiffs' proposed amended complaint,
                                                          or any more informal suggestion of allegations
    To the extent that plaintiff's application for
                                                          plaintiffs wish to amend, "this Court is forced to
leave to file an amended complaint is considered
                                                          rule on a hypothetical amended complaint neither
timely, it is denied on the merits. Although we are
                                                          the Court nor defendants have seen," REFCO
well aware of the fact that generally, leave to amend
                                                          Group, 2006 U.S. Dist. LEXIS 54245, 2006 WL
"shall be freely given when justice so requires,"
                                                          2129786 at *5 (internal citation and quotation
Fed. R. Civ. P. 15(a), and that "[c]omplaints dis-
                                                          marks omitted), something we are loathe to do.
missed under Rule 9(b) are almost always dis-
                                                          Where plaintiffs fail to disclose what additional al-
missed with leave to amend," Luce v. Edelstein, 802
                                                          legations they would make which might result in a
F.2d 49, 56 (2d Cir. 1986), we note that Rule 15(a)
                                                          viable complaint to be, we may assume amendment
is not without limits. Specifically in this context the
                                                          would be futile and need not grant leave to amend.
Second Circuit has observed: "Unless there is a va-
                                                          See, e.g., Horoshko v. Citibank, N.A., 373 F.3d 248,
lid basis to vacate [*11] the previously entered
                                                          249 (2d Cir. 2004) ("Because an amendment is not
judgment, it would be contradictory to entertain a
                                                          warranted '[a]bsent some indication as to what
motion to amend the complaint." National Petro-
                                                          [*13] appellants might add to their complaint in
chemical Co. v. M/T Stolt, 930 F.2d 240, 245 (2d
                                                          order to make it viable,' the District Court was un-
Cir. 1991). More generally, denial of leave to
                                                          der no obligation to provide the Horoshkos with
amend is appropriate where there is a reason to do
                                                          leave to amend their complaint . . . .") (quoting Na-
so, such as bad faith or dilatory motive, undue pre-
                                                          tional Union of Hospital and Health Care Emp.,
judice to the opposing party by virtue of allowance
                                                          RWDSU, AFL-CIO v. Carey, 557 F.2d 278, 282 (2d
of the amendment, or futility of the amendment.
                                                          Cir. 1977)); In re WorldCom, Inc. Securities Litiga-
Dluhos v. Floating and Abandoned Vessel, Known
                                                          tion, 303 F. Supp. 2d 385, 391 (S.D.N.Y. 2004)
as New York, 162 F.3d 63, 69 (2d Cir. 1998) (quot-
                                                          ("The plaintiffs have not included any proposed
ing Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct.
                                                          amended pleading or indicated what they might al-
227, 9 L. Ed. 2d 222 (1962)).
                                                          lege to cure the deficiency identified in the motion
    Plaintiffs' request for leave to amend is flawed.     to dismiss. The plaintiffs have already been permit-
Plaintiffs have failed to provide this Court or defen-    ted to file one amended pleading through the filing
dants with a copy of the proposed amended com-            of this Consolidated Amended Class Action Com-
plaint, nor even with any indication as to what in-       plaint. In the absence of any identification of how a
formation or allegations they would add to their          further amendment would improve upon the Com-
complaint were leave to amend granted. Indeed,            plaint, leave to amend must be denied as futile.");
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Shields, 25 F.3d at 1132 (affirming denial of leave       310, 318 (S.D.N.Y. 2005) (citation omitted)). Ac-
to amend in a situation where "[i]t is not clear that     cordingly, we find without merit plaintiffs' attempt
the failure of pleading could be remedied by further      to now rectify the deficiencies of their dismissed
amendment, nor has [plaintiff] suggested how that         Consolidated Amended Complaint, when they had
could be done").                                          many months before its dismissal to adequately do
                                                          so. 5
     The application of this approach is particularly
apt here given the procedural history of this case,
                                                                 4 An instructive analogy may be found in
which provided plaintiffs with numerous opportuni-
                                                                 the Second Circuit's recent decision in Kass-
ties [*14] to amend as well as full notice of the de-
                                                                 ner v. 2nd Ave. Delicatessen, Inc., 496 F.3d
ficiencies in their Consolidated Amended Com-
                                                                 229, 2007 U.S. App. LEXIS 17523, 2007
plaint. "When the moving party has had an oppor-
                                                                 WL 2119769 (2d Cir.2007) where the Court
tunity to assert the amendment earlier, but has
                                                                 held "that amendment of a pleading as a mat-
waited until after judgment before requesting leave,
                                                                 ter of course pursuant to Rule 15(a) is subject
a court may exercise its discretion more exacting-
                                                                 to the district court's discretion to limit the
ly." State Trading Corp. of India v. Assurancefore-
                                                                 time for amendment of the pleadings in a
ningen Skuld, 921 F.2d, 409, 418 (2d Cir. 1990).
                                                                 scheduling order issued under Rule 16(b)",
Allowing plaintiffs leave to amend now would be
                                                                 which [*16] permits modification only
condoning a strategy whereby plaintiffs "hedge
                                                                 "upon showing of good cause."
their bets by holding such evidence back in the
                                                                 5 As noted, plaintiffs also moved pursuant
hopes of having another bite at the proverbial ap-
                                                                 to Fed. R. Civ. P. 59(e) to alter or amend the
ple." In re Nokia Oyj (Nokia Corp.) Securities Liti-
                                                                 judgment to provide that the dismissal be
gation, 423 F. Supp. 2d 364, 409 (S.D.N.Y. 2006)
                                                                 without prejudice. We recognize as men-
(denying leave to amend a consolidated amended
                                                                 tioned in footnote 3 that resort to Rule 59(e)
complaint where "plaintiffs' first allusion to poten-
                                                                 is required since a judgment was entered.
tially amending . . . prior to the dismissal of the ac-
                                                                 However, while 59(e) provides the procedur-
tion was through footnotes in their opposition
                                                                 al mechanism the other aspects of plaintiffs'
brief") (internal citation omitted). Finding accepta-
                                                                 motion raise the substantive issues. The
ble a mere footnote reference requesting leave, or a
                                                                 denial of this aspect of plaintiffs' motion fol-
motion for leave to amend with neither a proposed
                                                                 lows from our denials of their motions for
pleading nor even a hint of the facts plaintiffs could
                                                                 reconsideration or leave to amend.
plead to cure the deficiencies of the complaint, is to
place district courts in the position of writing advi-        CONCLUSION
sory opinions [*15] -- a result we endeavor to
                                                               For the reasons set forth above, we deny plain-
avoid by having defendants explain their proposed
                                                          tiffs' motions.
motion in advance and affording a plaintiff the
choice of standing on his pleading or curing the
                                                          IT IS SO ORDERED.
noted deficiencies. 4 See Bellikoff v. Eaton Vance
Corp.., 481 F.3d 110, No. 05-6957-CV (2d Cir.                 Dated: New York, New York
Mar. 15, 2007) ("plaintiffs 'were not entitled to an          August 24, 2007
advisory opinion from the Court informing them of
the deficiencies in the complaint and then an oppor-          NAOMI REICE BUCHWALD
tunity to cure those deficiencies'") (quoting In re           UNITED STATES DISTRICT JUDGE
Eaton Vance Mut. Funds Litig., 403 F. Supp. 2d
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Analysis
As of: Nov 26, 2009

              COLUMBUS DRYWALL & INSULATION, INC., et al., on behalf of a class
              of similarly situated persons, Plaintiff, v. MASCO CORPORATION, et al.,
                                               Defendants.

                                 CIVIL ACTION NO. 1:04-CV-3066-JEC

              UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT
                           OF GEORGIA, ATLANTA DIVISION

                      2009 U.S. Dist. LEXIS 30937; 2009-1 Trade Cas. (CCH) P76,554


                                         February 9, 2009, Decided
                                          February 9, 2009, Filed

PRIOR HISTORY: Columbus Drywall & Insula-               For Masco Corporation, Masco Contractor Services
tion, Inc. v. Masco Corp., 2007 U.S. Dist. LEXIS        Central, Inc., Defendants: Allyson M. Maltas,
52589 (N.D. Ga., July 20, 2007)                         LEAD ATTORNEY, PRO HAC VICE, Latham &
                                                        Watkins-DC, Washington, DC; Andrew D. Morton,
                                                        Eric J. McCarthy, Gregory S. Seador, William R.
COUNSEL: [*1] For Columbus Drywall & Insula-            Sherman, LEAD ATTORNEYS, Margaret M.
tion, Inc., Leo Jones Insulation, Inc., Southland In-   Zwisler, Latham & Watkins-DC, Washington, DC;
sulators, Inc., Southland Insulators of Maryland,       David A. Ettinger, LEAD ATTORNEY, Honigman
Inc., doing business as Devere Insulation, South-       Miller Schwartz & Cohn-MI, Detroit, MI; Gregory
land Insulators of Delaware LLC, doing business as      D. Wittrock, LEAD ATTORNEY, Office of Gre-
Delmarva Insulation, Whitson Insulation of Grand        gory D. Wittrock, Taylor, MI; Kenneth G. Cole,
Rapids, Inc., on behalf of a class of similarly si-     [*2] LEAD ATTORNEY, Masco Corporation, Tay-
tuated persons, Plaintiffs: Craig Gordon Harley,        lor, MI; Samuel Wade Malone, Nelson Mullins Ri-
James M. Wilson, Jr., LEAD ATTORNEYS, Chit-             ley & Scarborough-ATL, Atlanta, GA.
wood Harley Harnes, Atlanta, GA; Frank M. Lo-
wrey, IV, LEAD ATTORNEY, Bondurant Mixson               For Masco Contractor Services Group Corp., Masco
& Elmore, Atlanta, GA; Jeffrey L. Berhold, LEAD         Contractor Services East, Inc., Defendants: Allyson
ATTORNEY, Jeffrey L. Berhold, P.C., Atlanta,            M. Maltas, LEAD ATTORNEY, PRO HAC VICE,
GA; Michael B. Terry, Ronan P. Doherty, LEAD            Latham & Watkins-DC, Washington, DC; Andrew
ATTORNEYS, Steven Rosenwasser, Bondurant                D. Morton, Eric J. McCarthy, Gregory S. Seador,
Mixson & Elmore, Atlanta, GA.                           William R. Sherman, LEAD ATTORNEYS, Mar-
                                                        garet M. Zwisler Latham & Watkins-DC, Washing-
                                                        ton, DC; David A. Ettinger, LEAD ATTORNEY,
     Case 1:06-cv-00765-TJM-DRH Document 320-1 Filed 11/29/09 Page 8 of 30
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Honigman Miller Schwartz & Cohn-MI, Detroit,           JUDGES: JULIE E. CARNES, CHIEF UNITED
MI; Samuel Wade Malone, Nelson Mullins Riley &         STATES DISTRICT JUDGE.
Scarborough-ATL, Atlanta, GA.
                                                       OPINION BY: JULIE E. CARNES
For Johns Manville (Inc.), Defendant: Kimberly
Lillian Myers, Tony Glen Powers, LEAD ATTOR-           OPINION
NEYS, John J. Almond, Phillip S. McKinney, Rog-
ers & Hardin, Atlanta, GA.                             ORDER and OPINION
                                                           This case is presently before the Court on de-
For Certainteed Corporation, Defendant: June Ann
                                                       fendant's Motion to Exclude the Expert Testimony
Sauntry, James Andrew Lamberth, LEAD AT-
                                                       of Jeffrey Leitzinger [434], defendant's Motion for
TORNEY, Troutman Sanders, Atlanta, GA.
                                                       Summary Judgment [435], plaintiffs' Renewed Mo-
                                                       tion for Class Certification [*4] [474], defen-
For Knauf Insulation GMBH, Defendant: Daniel R.
                                                       dant's Motion for Sanctions [523], and plaintiffs'
Gravelyn, LEAD ATTORNEY, Barnes & Thorn-
                                                       Motion for Leave to File a Supplemental Brief in
burg, LLP-MI, Grand Rapids, MI; Daniel Patrick
                                                       Opposition to the Motion for Sanctions [560]. The
Griffin, LEAD ATTORNEY, Miller & Martin-Atl,
                                                       Court has reviewed the record and the arguments of
Atlanta, GA; Deborah Pollack-Milgate, Donald E.
                                                       the parties and, for the reasons set out below, con-
Knebel, Hongsun Yoon, Kendall Millard, Lynn C.
                                                       cludes that defendant's Motion to Exclude the Ex-
Tyler, LEAD ATTORNEYS, Barnes & Thornburg-
                                                       pert Testimony of Jeffrey Leitzinger [434] should
IN, [*3] Indianapolis, IN.
                                                       be DENIED, defendant's Motion for Summary
                                                       Judgment [435] should be GRANTED in part and
For Guardian Fiberglass, Inc., Defendant: Aradhana
                                                       DENIED in part, plaintiffs' Renewed Motion for
Das, LEAD ATTORNEY, Guardian Industries
                                                       Class Certification [474] should be GRANTED,
Corp., Auburn Hills, MI; Corey C. Watson, Russell
                                                       defendant's Motion for Sanctions [523] should be
A. Archer, LEAD ATTORNEYS, Kirkland & Ellis
                                                       DENIED, and plaintiffs' Motion for Leave to File a
LLP-CA, Los Angeles, CA; Thomas M. Pastore,
                                                       Supplemental Brief in Opposition to the Motion for
LEAD ATTORNEY, Guardian Industries Corp.,
                                                       Sanctions [560] should be DENIED as moot.
Auburn Hills, MI; Cornelius David Vaughan,
Charles Conrow Murphy, Jr., Ellen G. Schlossberg,
                                                       BACKGROUND
Vaughan & Murphy, Atlanta, GA.
                                                            This is an antitrust case. Defendants Certainteed
For Guardian Building Products Distribution, Inc.,     ("CT"), Johns Manville ("JM"), Guardian, and
Defendant: Corey C. Watson, Russell A. Archer,         Knauf are fiberglass insulation manufacturers.
LEAD ATTORNEYS, Kirkland & Ellis LLP-CA,               (Def.'s Statement of Material Facts ("DSMF") [435-
Los Angeles, CA; Charles Conrow Murphy, Jr.,           3] at P 35 and Pls.' Resp. to DSMF ("Pl.'s Resp. to
Ellen G. Schlossberg, Vaughan & Murphy, Atlanta,       DSMF") [448] at P 35.) Defendant Masco is a fi-
GA.                                                    berglass insulation contractor. (DSMF [435-3] and
                                                       Pls.' Resp. to DSMF [448] at PP 8-10.) Plaintiffs
For Wilson Insulation of Augusta, Inc., Movant:        are 377 independent fiberglass insulation contrac-
Jeffrey L. Berhold, LEAD ATTORNEY, Jeffrey L.          tors who compete with [*5] Masco in the industry.
Berhold, P.C., Atlanta, GA.                            (Second Am. Compl. ("SAC") [274] at PP 1, 35 and
                                                       Expert Report of Dr. Jeffrey Leitzinger, attached to
Laurence P. Czajkowski, Movant, Pro se, West Ha-       Def.'s Mot. to Exclude ("Leitzinger Report") [434-
ven, CT.                                               2] at P 5.) Plaintiffs contend that Masco violated the
                                                       antitrust laws by conspiring with, and orchestrating
Superior Roofing and Siding of Trumbull, Ct LLC,       a conspiracy between, the manufacturers to fix pric-
Movant, Pro se, New Haven, CT.                         es in the fiberglass insulation industry from January
                                                       1, 1999 through 2003. 1 (SAC at PP 2-3, 30 and
                                                       Leitzinger Report [434-2] at P 5.)
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                                                           Plaintiffs contend that the resulting agreements be-
       1 All of the manufacturer defendants have           tween Masco and the manufacturers violated the
       settled. (Scheduling Order [483] and Order          antitrust laws. (Id. at PP 2-3.)
       [482].) Thus, Masco is the only remaining
       defendant in the case. (Id.)                               2 By 2003, Masco installed at least 40-50%
                                                                  of all fiberglass insulation in new home con-
     The American fiberglass insulation market is an
                                                                  structions in the United States. (DSMF [435-
oligopolistic market The four manufacturers in-
                                                                  3] and Pls.' Resp. to DSMF [448] at P 17.)
volved in this case, in addition to Owens-Corning
("OC"), produce almost all of the fiberglass insula-            Masco has filed a motion for summary judg-
tion that is purchased in the United States. (DSMF         ment on plaintiffs' antitrust claims, as well as a mo-
[435-3] and Pls.' Resp. to DSMF [448] at PP 55, 57,        tion to exclude the testimony of plaintiffs' expert
59, 63, 65.) All of the manufacturers' products are        witness, Dr. Jeffrey Leitzinger, and a motion for
essentially the same. (Id. at PP 1-6; Leitzinger Re-       sanctions. (Def.'s Mot. for Summ. J. ("Def.'s Mot.
port [434-2] at PP 70-73.) See Reserve Supply Corp.        for Summ. J.") [435], Motion to Exclude the Ex-
v. Owens-Corning Fiberglas Corp., 971 F.2d 37, 39          pert Testimony of Jeffrey Leitzinger ("Mot. to Ex-
(7th Cir. 1992) ("Fiberglass insulation is an essen-       clude") [434], and Mot. for Sanctions [523].) Plain-
tially homogeneous product [*6] which is marketed          tiffs have filed a renewed motion for class certifi-
in standard sizes, grades ('R-values'), and for-           cation. (Pls.' Renewed Mot. for Class Certification
mats."). Demand for the products, which is tied to         [*8] ("Pls.' Mot. for Cert.") [474].) All of those mo-
housing starts, is generally inelastic. Id. at 49-50       tions are presently before the Court.
(describing the nature of the American fiberglass
market). Customers buy according to their needs,           DISCUSSION
such that a lower price does not typically increase
demand. Id. The insulation manufacturers sell their        I. Masco's Motion to Exclude Dr. Leitzinger's
products directly to contractors, retailers, and dis-      Testimony
tributors. (DSMF [435-3] and Pls.' Resp. to DSMF
                                                               Plaintiffs have submitted the expert opinions of
[448] at P 4.)
                                                           Dr. Jeffrey Leitzinger in support of their motion for
     Masco is one of the nation's largest insulation       class certification, and as evidence of liability. (See
contractors. 2 (Id. at PP 8-10.) As a result, Masco        Leitzinger Report [434-2].) The admissibility of Dr.
purchases a significant percentage of each manufac-        Leitzinger's testimony is governed by Rule 702 of
turer's product each year. (Id. at PP 35-37.) Because      the Federal Rules of Evidence. Daubert v. Merrell
of its size, and the size, of its purchases, Masco has     Dow Pharms.., 509 U.S. 579, 588, 113 S. Ct. 2786,
been able to negotiate price advantages over most          125 L. Ed. 2d 469 (1993). Rule 702 provides:
other contractors in the industry. (Id. at P 38.) Plain-
tiffs contend, however, that between the beginning                  If scientific, technical, or other spe-
of 1999 and the end of 2003, Masco went beyond                    cialized knowledge will assist the trier
simply negotiating the lowest price it could obtain               of fact to understand the evidence or
for insulation. (SAC [274] at P 2 and Pls.' Br. in                to determine a fact in issue, a witness
Opp'n to Masco's Mot. for Summ. J. ("Pls.' Opp'n to               qualified as an expert by knowledge,
Summ. J.") [446] at 1.) Plaintiffs specifically allege            skill, experience, training, or educa-
that, during that time frame, plaintiffs [*7] allege              tion, may testify thereto in the form of
that Masco enlisted the manufacturers in a conspir-               an opinion or otherwise. . . .
acy to maintain and increase Masco's price advan-
tage to the detriment of competing independent
contractors. (SAC [274] at P 2.) According to plain-       FED. R. EVID. 702. Pursuant to Rule 702, expert
tiffs, the manufacturers agreed to this arrangement        testimony is admissible when: (1) the expert is qual-
in exchange for Masco's support for across-the-            ified to testify competently; (2) the expert's metho-
board price increases on insulation products during        dology is reliable; and (3) the expert's testimony
a time decreased demand and excess supply. (Id.)           will assist the trier of fact to understand the evi-
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dence or to determine a fact at issue in the case.              Although Dr. Leitzinger could not recite the
Allison v. McGhan Med. Corp., 184 F.3d 1300,               specific equation used to test for simultaneity with-
1309 (11th Cir. 1999).                                     out consulting his work papers, he did ultimately
                                                           offer a detailed explanation of the test. (Leitzinger
     The [*9] Daubert Court emphasized the district
                                                           Dep. II [531] at 7-10.) Moreover, Dr. Leitzinger
court's "gatekeeping" role to ensure that scientific
                                                           testified that he subscribes to econometrics journals
testimony is relevant and reliable before it is admit-
                                                           and that he has testified in this area before. [*11]
ted as evidence. Daubert, 509 U.S. at 589-90. See
                                                           (Id. at 62-63.) He stated further that he has pub-
also Hudgens v. Bell Helicopters/Textron, 328 F.3d
                                                           lished articles regarding, among other things, the
1329, 1342 (11th Cir. 2003) (noting "the repeated
                                                           application of econometrics to economic issues.
emphasis the Supreme Court has placed upon the
                                                           (Id.) In the absence of a more specific challenge on
district court's 'gatekeeping' role in the determina-
                                                           the part of Masco, the Court finds that Dr. Leitzin-
tion of whether expert evidence should be admit-
                                                           ger is qualified to testify as an economic expert, and
ted"). This gatekeeping obligation applies "not only
                                                           to render an econometric opinion, in this case.
to testimony based on 'scientific' knowledge, but
also to testimony based on 'technical' and 'other
                                                           B. Reliable Methodology
specialized' knowledge." Kumho Tire Co., Ltd.
Carmichael, 526 U.S. 137, 141, 119 S. Ct. 1167,                 The Court also finds that Dr. Leitzinger's me-
143 L. Ed. 2d 238 (1999). The overarching goal of          thodology is sufficiently reliable to meet the stan-
Daubert's gatekeeping requirement is to ensure that        dard of Rule 702. As directed by plaintiffs' counsel,
an expert "employs in the courtroom the same level         Dr. Leitzinger conducted his analysis under the hy-
of intellectual rigor that characterizes the practice of   pothesis that the conspiracy operated from January
an expert in the relevant field." Id. at 152.              1, 1999 through December 31, 2003. (Leitzinger
                                                           Report [434-2] at PP 5-6.) Defining 1999 through
A. Dr. Leitzinger's Qualifications                         2003 as the conspiracy period, and using 1998 and
                                                           2004 as base years, Dr. Leitzinger conducted a "be-
     In his expert report, Dr. Leitzinger presents a
                                                           fore and after analysis" of the operational years of
statistical analysis of market data that tends to sup-
                                                           the alleged conspiracy. (Id. at PP 103-13.) The goal
port plaintiffs' conspiracy allegations. (Leitzinger
                                                           of the analysis was to compare the change in each
Report [434-2] at P 7.) Masco concedes that Dr.
                                                           contractor's spread, relative to Masco, during the
Leitzinger is a professional economist with both a
                                                           conspiracy period. (Id.) Based on that comparison,
master's [*10] degree and a doctorate in economics
                                                           Dr Leitzinger concluded that the alleged conspiracy
from the University of California at Los Angeles.
                                                           had a clear and discernible impact on the 377 plain-
(Id. at P 1 and Def.'s Mem. in Supp. of Mot. to Ex-
                                                           tiffs in this case. [*12] 3 (Id. at PP 7, 109, 117.)
clude ("Def.'s Mem. to Exclude") [434-8] at 1.) In
addition, it is undisputed that Dr. Leitzinger has
                                                                  3 In interpreting his findings, Dr. Leitzinger
twenty-five years of experience in analyzing mar-
                                                                  included a measure of the relative likelihood
kets and assessing allegations of anticompetitive
                                                                  that any changes were due to random chance.
conduct. (Id. at 1 2.)
                                                                  (Leitzinger Report [434-2] at P 7.) He found
    Despite his credentials, Masco challenges Dr.                 that probability to be "sufficiently low" to
Leitzinger's competence to render an "econometric"                indicate a genuine change in market beha-
opinion in this case. (Def.'s Mem. to Exclude [434-               vior. (Id. at P 110.)
8] at 20-21.) In support of its challenge, Masco does
                                                               Dr. Leitzinger's methodology is "recognized by
not cite any lack of experience or education on the
                                                           the courts and in economic literature" as an accept-
part of Dr. Leitzinger. (Id.) Instead, Masco simply
                                                           able method to examine the effect of price fixing
notes that Dr. Leitzinger had difficulty reciting the
                                                           conspiracies. (Id. at PP 103-07.) That is an impor-
precise test for "simultaneity"--a statistical test that
                                                           tant indicator of its reliability. 4 Indeed, even Mas-
he ran in his rebuttal report--upon demand during
                                                           co's expert acknowledges that the "before-after ap-
his deposition. (Id. at 21.)
                                                           proach utilized by Dr Leitzinger is in itself an ap-
                                                           propriate statistical methodology." (Rubinfeld Re-
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port at P 13, attached to Pls.' Opp'n to Summ. J.              In any case, there is sufficient evidence in the
[446] at PA 639.) 5 Moreover, there are no apparent       record to permit a reasonable expert to define the
flaws in Dr Leitzinger's methodology, and Masco           conspiracy period as Dr. Leitzinger did. The docu-
has failed to articulate any methodological prob-         mentary evidence shows that by late 1998 Masco
lems that would warrant exclusion of Dr Leitzin-          had concluded that industry conditions, particularly
ger's testimony.                                          a decline in housing starts, threatened to lateralize
                                                          Masco's price advantage over other contractors.
       4 The Supreme Court has identified several         (See 1999 Gale 6 Industries, Inc. Strategic Plan &
       non-exclusive factors that a court may con-        Budget at PA 908-09.) Documents from 1999 sug-
       sider when evaluating whether a particular         gest that Masco had decided to resist the threatened
       theory or study is reliable: (1) whether the       lateralization via pricing agreements with the manu-
       theory in question can be and has been em-         facturers. (See August 19, 1999 Calendar Entry by
       pirically tested; [*13] (2) whether the theory     Jeff Templeton at PA 1415 and May 5, 1999 Email
       has been subjected to peer review and publi-       from Jeff Brisley of Knauf at PA 1435.) Later doc-
       cation; (3) the theory's known or potential er-    uments support Dr. Leitzinger's assumption [*15]
       ror rate; and (4) whether the theory is gener-     that Masco's efforts resulted in a conspiracy that
       ally accepted in the field. Daubert, 509 U.S.      was ongoing from early 1999 until the first half of
       at 592-95. The pertinence of those factors         2004. (See February 2, 2000 Calendar Entry by Jeff
       "depend[s] on the nature of the issue, the ex-     Templeton at PA 1416, March 6, 2000 Email from
       pert's particular expertise, and the subject of    David Boivin at PA 690; February 28, 2002 Gary
       his testimony." Kumho Tire, 526 U.S. at 150.       Romes' Notes from Meeting with Masco at PA
       5 For consistency, the Court will refer to         1460; June 26, 2002 JM Meeting Notes at PA 762;
       the documentary evidence produced by               and June 1, 2004 Email from Gary Romes of Guar-
       plaintiffs by the page number of the docu-         dian at PA 1448.)
       ment in Plaintiffs' Appendix ("PA").
                                                                 6 Masco acquired Gale Industries in 1995,
    Masco's primary challenge to Dr. Leitzinger's
                                                                 but many people in the industry continued to
methodology concerns his definition of the conspir-
                                                                 refer to Masco as Gale even as late as 2000.
acy period. (Def.'s Mem. to Exclude [434-8] at 12.)
                                                                 (DeMarie Dep. [509] at 12 and Templeton
According Masco, Dr. Leitzinger "arbitrarily picked
                                                                 Dep. [521] at 152.)
his 'base' and [conspiracy] years without any evi-
dentiary basis." (Id.) As an initial matter, this argu-       Masco also suggests that Dr. Leitzinger's opi-
ment challenges not Dr. Leitzinger's methodology,         nion is unreliable because he cannot describe the
but a factual premise behind his analysis. "As a          specific terms of the price fixing agreements that he
general rule, the factual basis of an expert opinion      purports to analyze. (Def.'s Mem. to Exclude [434-
goes to the credibility of the testimony, not the ad-     8] at 17.) It is not necessary, however, that Dr Leit-
missibility." Bonner v. ISP Techs., Inc.., 259 F.3d       zinger describe every detail of the alleged conspira-
924, 929 (8th Cir. 2001) (quoting Hose v. Chicago         cy in order to analyze its potential impact. See Tus-
Nw. Transp. Co., 70 F.3d 968, 974 (8th Cir. 1996)).       caloosa v. Harcros Chems., Inc., 158 F.3d 548,
See [*14] also Maiz v. Virani, 253 F.3d 641, 667          564-65 (11th Cir. 1998) (noting that an expert's tes-
(11th Cir. 2001) (permitting an accounting expert to      timony need not singlehandedly establish a success-
opine on forensic accounting issues based on "rea-        ful conspiracy to be admitted under Rule 702). Dr.
sonable assumptions regarding the requirements of         Leitzinger's report appropriately focuses on his area
the applicable contracts") and In re Polypropylene        [*16] of expertise. Id. at 565. To the extent it fails
Carpet Antitrust Litig., 178 F.R.D. 603, 623 (N.D.        to completely describe or account for the conspira-
Ga. 1997) (Murphy, J.) (noting that an expert's "as-      cy, Masco can address this perceived deficiency on
sumption that a conspiracy exists does not indicate       cross-examination. 7 Id. at 564-65. See also Quiet
that the methodology to prove impact in such cir-         Tech. DC-8, Inc. v. Hurel-Dubois UK Ltd., 326
cumstances is flawed").                                   F.3d 1333, 1345 (11th Cir. 2003) ("The identifica-
                                                          tion of such flaws in generally reliable scientific
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evidence is precisely the role of cross examina-           cy described by plaintiffs. (Id. at 18-20.) Neither of
tion.").                                                   these arguments is persuasive.
                                                               With respect to the first argument, Masco con-
       7 Masco similarly suggests that Dr.' Leit-
                                                           tends that: "[A]ll that [Leitzinger's] analysis even
       zinger failed to account for alternative expla-
                                                           purports to show is that many contractors paid a
       nations that might have affected the spread.
                                                           higher price relative to Masco during the affected
       (Def.'s Mem. to Exclude [434-8] at 23-24.)
                                                           period than they did as compared to the base pe-
       Assuming that is true, it is another issue for
                                                           riod." (Id. at 11.) That is indeed the thrust of Dr.
       the jury to consider, not a basis for excluding
                                                           Leitzinger's analysis. But what Masco fails to ac-
       Dr. Leitzinger's testimony. See Quiet Tech.
                                                           knowledge is that the spread between the prices
       DC-8, Inc. v. Hurel-Dubois UK Ltd, 326
                                                           offered to Masco and the prices offered to other
       F.3d 1333, 1346 (11th Cir. 2003) (noting that
                                                           contractors is a key issue in the case. Evidence con-
       an expert's failure to include all "'available
                                                           cerning the spread is thus clearly relevant, although
       flight test parameters in his model'" affected
                                                           it may not be sufficient in and of itself, to establish
       the probative value of the expert's testimony,
                                                           an antitrust violation. Harcros, 158 F.3d at 564-65
       but not its admissibility).
                                                           (noting that an expert's testimony need not single-
     Finally, Masco contends that Dr. Leitzinger's         handedly establish a successful conspiracy to be
results are unreliable because he used a "more             admitted under Rule 702).
probable than not standard." (Def.'s Mem. to Ex-
                                                                Masco's argument that Dr. Leitzinger's data are
clude [434-8] at 22-23.) The more probable than not
                                                           inconsistent with a class-wide conspiracy is similar-
standard corresponds with the civil burden [*17] of
                                                           ly flawed. In support of this argument, Masco cites
proof in antitrust litigation. See McClave and Lan-
                                                           its own expert's conclusion that Dr Leitzinger's
zillotti, Meeting the Ambiguity Test Under Daubert,
                                                           [*19] data do not conform to the expected pattern of
17 Antitrust 44, 45 (2003) ("In civil antitrust litiga-
                                                           a class-wide conspiracy. (Def.'s Mem. to Exclude
tion, a jury typically is instructed to find for the
                                                           [434-8] at 18-20.) That Masco's expert is able to
plaintiff if the 'preponderance of the evidence' fa-
                                                           offer a contrary interpretation of Dr. Leitzinger's
vors the plaintiff's allegations, meaning the allega-
                                                           data is not at all surprising, and certainly is not fatal
tions are more likely to be true than not."). Moreo-
                                                           to Dr. Leitzinger's analysis. Masco's argument on
ver, Dr. Leitzinger only used the more probable
                                                           this point essentially amounts to a battle of the ex-
than not standard to identify all 377 of the contrac-
                                                           perts that must be resolved by a jury. Daubert does
tors that paid a price spread higher than Masco dur-
                                                           not permit the Court to "evaluate the credibility of
ing the conspiracy period. (Leitzinger Report [434-
                                                           opposing experts and the persuasiveness of compet-
2] at P 108.) In identifying contractors whose
                                                           ing scientific studies." Quiet, 326 F.3d at 1341.
spreads increased, he also reported those that satisfy
at least a 5% statistical significance test (315), and a       Dr. Leitzinger's testimony is an important
10% statistical significance test (323). (Id. at P         "piece of the puzzle that the plaintiffs endeavor to
109.) His use of these specific sub-categories is not      assemble before the jury." Harcros, 158 F.3d at
a basis for excluding his testimony as unreliable.         565. It is thus relevant under Rule 702. Moreover,
                                                           Masco fails to persuasively challenge either Dr.
C. Relevance                                               Leitzinger's qualifications or his methodology. Ac-
                                                           cordingly, Masco's motion to exclude Dr. Leitzin-
     In the context of Rule 702, evidence is relevant
                                                           ger's testimony [434] is DENIED.
if it will "assist the trier of fact to understand the
evidence or to determine a fact in issue." Allison,
                                                           II. Plaintiffs' Motion for Class Certification
184 F.3d at 1310 (citing FED. R. EVID. 702). Mas-
co argues that Dr. Leitzinger's testimony is not rele-          Plaintiffs have filed a motion to certify a class
vant because it does not distinguish between lawful        of 377 contractors who purchased insulation prod-
[*18] and unlawful behavior. (Def.'s Mem. to Ex-           ucts from the manufacturers during the alleged con-
clude [434-8] at 7-10.) Masco also argues that Dr.         spiracy period. (Pls.' Renewed Mot. for Cert. [474]
Leitzinger's data are inconsistent with the conspira-      at 1.) Plaintiffs had [*20] originally sought to certi-
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fy a class that corresponded to a different definition.   tive class members. Cox v. Am. Cast Iron Pipe Co.,
(Pls.' Original Mot. for Class Cert. [347].) They         784 F.2d 1546, 1553 (11th Cir. 1986)("while there
have since tailored their allegations to reflect Dr.      is no fixed numerosity rule, 'generally less than
Leitzinger's statistical analysis. (Pls.' Renewed Mot.    twenty-one is inadequate, more than forty adequate,
for Cert. [474] at 1.) Dr. Leitzinger identified the      with numbers between varying according to other
377 purported class members as contractors who            factors'"). Plaintiffs' putative class of 377 meets the
were directly harmed by the alleged conspiracy. (Id.      numerosity requirement.
and Leitzinger Report [434-2] at PP 108, 117.)
                                                          2. Commonality
    Plaintiffs' motion for class certification is go-
verned by Rule 23 of the Federal Rules of Civil               Rule 23(a) (2) requires plaintiffs to show one or
Procedure. City of Hialeah Rojas, 311 F.3d 1096,          more "questions of law or fact common to the
1101 (11th Cir. 2002) (applying Rule 23). In order        class." FED. R. CIV. P. 23(a)(2). [*22] "Typically,
to qualify for certification under Rule 23, plaintiffs    questions concerning the existence and scope of an
must show that the proposed class meets all of the        alleged conspiracy will satisfy the commonality
requirements of Rule 23(a), and that it falls into one    requirement." In re Polypropylene Carpet Antitrust
of the categories described in Rule 23(b). Klay v.        Litig., 178 F.R.D. at 612. Courts in the Eleventh
Humana, 382 F.3d 1241, 1250 (11th Cir. 2004).             Circuit have therefore "consistently held that allega-
                                                          tions of price-fixing, monopolization, and conspira-
A. Rule 23(a)                                             cy by their very nature involve common questions
                                                          of law or fact." In re Terazosin Hydrochloride, 220
     Pursuant to Rule 23(a), a class may only be cer-
                                                          F.R.D. 672, 686 (S.D. Fla. 2004). See Klay, 382
tified if:
                                                          F.3d at 1255 (noting that the existence of a conspir-
                                                          acy and the various defendants' role in it were is-
         (1) the class is so numerous that
                                                          sues common to all of the plaintiffs) and In re
       joinder of all members is impractica-
                                                          Commercial Tissue Prods., 183 F.R.D. 589, 593
       ble; (2) there are questions of law or
                                                          (N.D. Fla. 1998)("Antitrust price fixing conspira-
       fact common to the class; (3) the
                                                          cies, by their nature, raise common questions of fact
       claims or defenses of the representa-
                                                          and law about the existence, scope, and effect of the
       tive parties are typical of the claims or
                                                          alleged conspiracy.").
       defenses of the class; [*21] and (4)
       the representative parties will fairly                  The central questions in this case likewise re-
       and adequately protect the interests of            volve around the alleged conspiracy: specifically,
       the class.                                         whether a conspiracy existed, and if so, its time
                                                          frame and scope. Because those questions are
                                                          common to the class, plaintiffs meet the commonal-
FED. R. CIV. P. 23(a). The four prerequisites of          ity requirement of Rule 23(a)(2).
Rule 23(a) are commonly referred to as numerosity,
commonality, typicality, and adequacy of represen-        3. Typicality
tation. Valley Drug Co. v. Geneva Pharms., Inc..,
                                                              Under Rule 23(a) (3), class certification is only
350 F.3d 1181, 1188 (11th Cir. 2003). They are
                                                          appropriate if "the claims [*23] or defenses of the
"designed to limit class claims to those fairly en-
                                                          representative parties are typical of the claims or
compassed by the named plaintiffs' individual
                                                          defenses of the class." FED. R. CIV. P. 23(a)(3).
claims." Id. (quoting Prado-Steiman v. Bush, 221
                                                          Although not required, typicality is generally satis-
F.3d 1266, 1278 (11th Cir. 2000)).
                                                          fied if the claims or defenses of the putative class
                                                          members stem from a single event or a unitary
1. Numerosity
                                                          course of conduct, or if they are based on the same
    Rule 23(a)(1) requires that a purported class be      legal theory. Kornberg v. Carnival Cruise Lines,
so numerous that "joinder of all members is imprac-       Inc., 741 F.2d 1332, 1337 (11th Cir. 1984) (stating
ticable." FED. R. CIV. P. 23(a)(1). Sufficient nume-      that a sufficient nexus is created for typicality pur-
rosity may be established with as few as forty puta-      poses "if the claims or defenses of the class and the
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class representative arise from the same event or              In addition to meeting all of the requirements of
pattern or practice and are based on the same legal        Rule 23(a), plaintiffs must also show that the pur-
theory").                                                  ported class falls within one of the subsections of
                                                           Rule 23(b). Klay, 382 F.3d at 1250. Plaintiffs here
    In this case, all of the proposed class members'
                                                           seek to certify their class under Rule 23(b) (3). (Pls.'
claims arise from Masco and the manufacturers'
                                                           Mem. for Cert. [478] at 25-29.) Rule 23(b) (3)
alleged conspiracy to restrain competition in the
                                                           "'encompasses those cases in which a class action
fiberglass industry. In addition, all of the plaintiffs'
                                                           would achieve economies of time, effort, and ex-
claims are based on the same legal theory: that the
                                                           pense, and promote uniformity of decisions as to
conspiracy between Masco and the manufacturers
                                                           persons similarly situated, without sacrificing pro-
violated the antitrust laws. See In're Domestic Air
                                                           cedural fairness or bringing about other undesirable
Transp. Antitrust Litig., 137 F.R.D. 677, 698-99
                                                           results.'" State of Alabama v. Blue Bird Body Co.,
(N.D. Ga. 1991)(Shoob, J.)(noting that a proposed
                                                           Inc., 573 F.2d 309, 315-16 (5th Cir. 1978) (quoting
class of antitrust plaintiffs all asserted claims under
                                                           the advisory committee notes to FED. R. CIV. P.
the theory that defendants "conspired to fix prices
                                                           23(b) (3) (1966)). It permits certification when: (1)
[*24] in violation of the antitrust laws"). Plaintiffs
                                                           the common questions of law or fact predominate
therefore meet the typicality requirement.
                                                           over any questions affecting only individual mem-
                                                           bers; and (2) a class action is superior to other
4. Adequacy
                                                           available methods [*26] for the fair and efficient
    In order to satisfy Rule 23(a) (4), plaintiffs must    adjudication of the controversy. FED. R. CIV. P.
show that "the representative parties will fairly and      23(b) (3).
adequately protect the interests of the class," FED.
R. CIV. P. 23(a)(4). This requirement has two              1. Common Questions of Law and Fact Predo-
prongs: (1) the named plaintiffs must share com-           minate
mon interests with the other class members; and (2)
                                                                As indicated above, antitrust price-fixing cases
the proposed counsel must have the qualifications
                                                           by their very nature raise common questions of fact
and experience necessary to represent the class in
                                                           and law concerning the alleged conspiracy. In re
the litigation. Piazza v. Ebsco Indus., Inc., 273 F.3d
                                                           Commercial Tissue Prods., 183 F.R.D. at 593. In
1341, 1346 (11th Cir. 2001)("'Adequacy of repre-
                                                           this case in particular, proof of Masco and the other
sentation' means that the class representative has
                                                           manufacturers' participation in the conspiracy is
common interests with unnamed class members and
                                                           indispensable to every plaintiff's claim, as is proof
will vigorously prosecute the interests of the class
                                                           of the conspiracy's impact on competition and pric-
through qualified counsel.") (citing Andrews v. Am.
                                                           es in the fiberglass market. Any individual issues
Tel. & Tel. Co., 95 F.3d 1014, 1023 (11th Cir.
                                                           that may arise are overshadowed by the legal and
1996)).
                                                           factual questions surrounding the alleged conspira-
    All of the proposed class members in this case         cy on which all liability in this case is premised. See
share a core interest in obtaining relief from Mas-        Klay, 382 F.3d at 1255 (noting that the determina-
co's allegedly illegal conduct. The Court is unaware       tive factor in establishing predominance under Rule
of any conflicts of interest between the named             23(b)(3) is the value of the class-wide issues to each
plaintiffs and any other class members. Moreover,          class member's underlying cause of action) and In-
the class attorneys have thus far shown that they are      gram v. The Coca-Cola Co., 200 F.R.D. 685, 699
capable of providing competent and [*25] effective         (N.D. Ga. 2001)(Story, J.) (recognizing that class-
counsel to the class. They have conducted a suc-           wide issues predominate when they have "a direct
cessful discovery effort against Masco, and ob-            impact on every class member's effort to establish
tained a favorable settlement agreement from the           liability" and ability to obtain relief).
manufacturers. (Scheduling Order [483] and Order
                                                               This is particularly [*27] true here because
[482].) Consequently, plaintiffs have demonstrated
                                                           "plaintiffs plan to rely upon evidence of the defen-
adequacy.
                                                           dants' conduct, rather than the conduct of individual
                                                           class members" to establish liability. In re Polypro-
B. Rule 23(b) (3)
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pylene Carpet Antitrust Litig., 178 F.R.D. at 619.        trust violation" that was national in scope. In re
Almost all the evidence in this case involves the         Domestic Air Transp. Antitrust Litig., 137 F.R.D. at
conduct of Masco and the manufacturers, such that         689. Under the circumstances, the existence of va-
"'the addition or subtraction of any of the plaintiffs    ried local markets does not present an obstacle for
to or from the class [should not] have a substantial      certification. Id. (finding "no indication that plain-
effect on the substance or quantity of evidence of-       tiffs plan[ned] to proceed hub by hub in an effort to
fered.'" Klay, 382 F.3d at 1255 (quoting Blue Bird,       present evidence of many different conspiracies").
573 F.2d at 322)). The only evidence that is specific
                                                               Moreover, plaintiffs can easily prove class-wide
to the individual class members involves their insu-
                                                          impact in spite of the fact that prices are subject to
lation purchases during the alleged conspiracy pe-
                                                          individualized negotiations. In order to do so, plain-
riod. That evidence will likely consist primarily of
                                                          tiffs must simply show that the starting price for the
purchasing records, and might even be amenable to
                                                          negotiations was artificially increased as a result of
stipulation or reducible to a formula. Id. (noting that
                                                          the conspiracy. Id. (noting that inflated fares re-
individualized damages inquiries could accom-
                                                          sulted in an artificial base price, which became the
plished by reference to patient records).
                                                          benchmark for discounted or negotiated fares). See
    Masco nevertheless suggests that nationwide           also In re Indus. Diamonds Antitrust Litig., 167
certification is inappropriate in this case for various   F.R.D. 374, 383 (S.D.N.Y. 1996) ("In a number of
reasons that are specific to the insulation market.       price-fixing cases concerning industries where dis-
Masco points out that competition in the insulation       counts and individually negotiated prices are com-
industry occurs in discrete, localized markets.           mon, courts have certified classes where the plain-
(Def.'s Opp'n [*28] to Cert. [488] at 7.) Masco also      tiffs have alleged that the defendants conspired to
notes that fiberglass insulation prices are typically     set an artificially inflated base price from which
the product of "individualized negotiations." (Id. at     negotiations for discounts [*30] began.") and In re
11.) According to Masco, generalized proof of in-         Commercial Tissue Prods., 183 F.R.D. at 595 (re-
jury is impossible when the prices and markets are        cognizing the same principle). Taken to its logical
so diverse. 8 (Id. at 12-17.)                             extreme, Masco's argument would preclude class
                                                          certification in a price-fixing case in any industry
       8 Masco's related suggestion that the insula-      characterized by bargaining or discounting. Courts
       tion products are themselves diverse is con-       have been quick to dismiss similar arguments. Id.
       tradicted by evidence in the record that fi-
                                                               In short, Masco's liability does not depend on
       berglass insulation is essentially a commodi-
                                                          the particulars of the local market, or the substance
       ty product, such that insulation sold by one
                                                          of individual price negotiations. Instead, Masco's
       manufacturer is a close or perfect substitute
                                                          liability hinges almost entirely on the facts sur-
       for insulation sold by another. (Leitzinger
                                                          rounding its alleged agreement with the manufac-
       Report [434-2] at PP 70-73; Boivin Dep.
                                                          turers to maintain and increase Masco's price ad-
       [505] at 11.) See also Reserve Supply, 971
                                                          vantage over its competitors in the industry. The
       F.2d at 39 ("Fiberglass insulation is an essen-
                                                          factfinder's inquiry into that issue can be conducted
       tially homogeneous produce which is mar-
                                                          independently of market variations and individual
       keted in standard sizes, grades ('R-values')
                                                          price negotiations. See In re Infant Formula Anti-
       and formats.").
                                                          trust Litig., 1992 U.S. Dist. LEXIS 21981, 1992
    The Court is not persuaded by Masco's Market          WL 503465, at *6 (N.D. Fla. 1992) ("'[C]ontentions
diversity argument. First, it is the conspiracy, and      of infinite diversity of product, marketing practices,
not the market, that must be national in order to         and pricing have been made in numerous cases and
warrant nationwide class certification. See Blue          rejected. Courts have consistently found the con-
Bird, 573 F.2d at 321-22 (rejecting plaintiffs' at-       spiracy issue the overriding, predominant ques-
tempt to certify a nationwide class where the evi-        tion.'") (quoting In re Folding Carton Antitrust Li-
dence only supported wrongdoing in Alabama). The          tig., 75 F.R.D. 727, 734 (N.D. Ill. 1977)).
evidence in this case reveals a "'common nucleus of
                                                              Finally, the fact that [*31] there will necessari-
[*29] operative facts' concerning [an] alleged anti-
                                                          ly be individualized damages evidence does not
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preclude Rule 23(b)(3) certification in this case.       problems" than any other available alternative, in-
''[N]umerous courts have recognized that the pres-       cluding separate lawsuits by the individual class
ence of individualized damages issues does not pre-      members. [*33] Id. at 1273.
vent a finding that the common issues in the case
                                                             Class certification clearly is the superior me-
predominate.'" Klay, 382 F.3d at 1259 (quoting Al-
                                                         thod of handling plaintiffs' claims in this case. The
lapattah Servs. v. Exxon Corp.., 333 F.3d 1248,
                                                         case has already consumed over 10,000 attorney
1261 (11th Cir. 2003)). See also In re Tri-State
                                                         hours and $ 2 million dollars in fees and costs. (Re-
Crematory Litig., 215 F.R.D. 660, 692 (N.D. Ga
                                                         ply Mem. in Supp. of Pls.' Renewed Mot. for Class
2003)(Murphy, J.) ("The requirement of determina-
                                                         Certification ("Pls.' Reply for Class Cert.") [493] at
tion of damages on an individual basis does not fo-
                                                         28.) The cost of pursuing independent actions is
reclose a finding of predominance or defeat certifi-
                                                         likely prohibitive for most individual plaintiffs. See
cation of the class."). Particularly in the antitrust
                                                         In re Dennis Greenman Sec. Litig., 829 F.2d 1539,
context, "[o]nce [a] violation and its causal relation
                                                         1545 (11th Cir. 1987) (noting that one "purpose of
to plaintiff's injury have been established, the bur-
                                                         class actions is to enable parties, who have insuffi-
den of proving the amount of damages is much less
                                                         cient means to pursue their individual claims, to
severe." Graphic Prods. Distribs. v. ITEK Corp..,
                                                         pool their resources and pursue their common com-
717 F.2d 1560, 1579 (11th Cir. 1983). Thus, plain-
                                                         plaints."). Even if plaintiffs could afford to bring
tiffs' individualized damages issues will not likely
                                                         independent actions, those actions would require
require separate "mini-trials." 9
                                                         the individual plaintiffs to present the same evi-
                                                         dence, to prove the same conspiracy, on 377 sepa-
       9 Masco correctly points out that plaintiffs
                                                         rate occasions. The "burden to the courts would be
       must present some common proof of impact.
                                                         enormous, and the needless duplication would be
       However, to meet that burden, plaintiffs
                                                         extremely expensive for all parties." DeLoach v.
       "need only come forward with plausible sta-
                                                         Philip Morris Co., Inc., 206 F.R.D. 551, 567 (M.D.
       tistical or economic methodologies [*32] to
                                                         N.C. 2002). See also Cameron-Grant v. Maxim
       demonstrate impact on a class-wide basis."
                                                         Healthcare Servs., Inc., 347 F.3d 1240, 1246 (11th
       In re Terazosin Hydrochloride, 220 F.R.D. at
                                                         Cir. 2003) (explaining that the class [*34] action
       698. They have done so here, in the form of
                                                         mechanism is intended to provide "a convenient and
       Dr. Leitzinger's expert economic and statis-
                                                         economical means for disposing of similar law-
       tical analysis, testimonial and documentary
                                                         suits" and to facilitate "the spreading of litigation
       evidence, and other circumstantial evidence
                                                         costs among numerous litigants with similar
       of impact.
                                                         claims").
2. Superiority                                                Masco contends that a class action would be
                                                         "hopelessly unmanageable" as a result of the indi-
     Rule 23(b)(3) lists several non-exhaustive fac-
                                                         vidualized evidence that Masco intends to produce
tors that the Court may consider when deciding
                                                         to rebut plaintiffs' claims, particularly with respect
whether a class action meets the superiority re-
                                                         to damages. (Def.'s Opp'n to Cert. [488] at 49.)
quirement, including: (1) the class members' inter-
                                                         However, Masco does not demonstrate how a class
est in individually controlling the prosecution or
                                                         action would be any more unmanageable than the
defense of separate actions; (2) the extent and na-
                                                         alternative: 377 separate lawsuits in which each
ture of any litigation concerning the controversy
                                                         plaintiff must amass the same evidence regarding
which is already commenced; (3) the desirability or
                                                         an identical conspiracy that allegedly resulted in
undesirability of concentrating the litigation of the
                                                         similar harm to every plaintiff. See Klay, 382 F.3d
claims in the particular forum; and (4) the difficul-
                                                         at 1273 (explaining that the relevant inquiry is
ties likely to be encountered in the management of a
                                                         whether a class action will create "relatively more
class action. FED R. CIV. P. 23(b) (3). See also
                                                         management problems" than any other available
Klay, 382 F.3d at 1269 (discussing the factors listed
                                                         alternative).
in FED. R. CIV. P. 23(b)(3)). With respect to the
last factor, the Court must assess whether a class           In addition, there are a number of management
action will create "relatively more management           tools available to the Court to address any individu-
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alized damages issues that might arise, including:        jury could return a verdict for the nonmovant. Id. at
(1) bifurcating liability and damage trials with the      249-50.
same or different juries; (2) appointing a magistrate
                                                               Summary judgment is not properly viewed as a
judge or special master to preside [*35] over indi-
                                                          device that the trial court may, in its discretion, im-
vidual damages proceedings; (3) decertifying the
                                                          plement in lieu of a trial on the merits. Instead, Rule
class after the liability trial and providing notice to
                                                          56 of the Federal Rules of Civil Procedure man-
class members concerning how they may proceed to
                                                          dates the entry of summary judgment against a par-
prove damages; (4) creating subclasses; or (5) alter-
                                                          ty who fails to make a showing sufficient to estab-
ing or amending the class. Id. (citing In re Tri-State
                                                          lish the existence of every element essential to that
Crematory Litig., 215 F.R.D. at 699). These tools
                                                          party's case on which that party will bear the burden
are sufficient to handle any manageability problems
                                                          of proof at trial. Celotex Corp. v. Catrett, 477 U.S.
that may arise in the litigation. Accordingly, plain-
                                                          317, 322, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986).
tiffs' motion for class certification should be
                                                          [*37] In such a situation, there can be no genuine
GRANTED. 10
                                                          issue as to any material fact, as a complete failure
                                                          of proof concerning an essential element of the non-
       10 Masco has filed a supplemental brief in
                                                          moving party's case necessarily renders all other
       opposition to plaintiffs' class certification
                                                          facts immaterial. Id. at 322-23 (quoting FED. R.
       motion, citing recent cases that emphasize
                                                          CIV. P. 56(c)).
       the lower courts' duty to "rigorously analyze"
       the evidence before certifying a class under            The movant bears the initial responsibility of
       Rule 23. (Del.'s Supplemental Br. [586] at 2.)     asserting the basis for his motion. Id. at 323. How-
       The cases cited by defendant do not an-            ever, the movant is not required to negate his oppo-
       nounce a new standard of law. See Gilchrist        nent's claim. The movant may discharge his burden
       v. Bolger, 733 F.2d 1551, 1555 (11th Cir.          by merely "'showing' -- that is, pointing out to the
       1984) (holding that class certification is only    district court--that there is an absence of evidence to
       appropriate if the Court is satisfied "after a     support the non-moving party's case." Id. at 325.
       rigorous analysis" that the requirements of        After the movant has carried his burden, the non-
       Rule 23 have been met). As evidenced by the        moving party is then required to "go beyond the
       above discussion, the Court has already ap-        pleadings" and present competent evidence desig-
       plied the requisite "rigorous analysis." Hav-      nating "specific facts showing that there is a ge-
       ing considered the evidence in the record, in-     nuine issue for trial." Id. at 324. While the court is
       cluding [*36] the documentary evidence and         to view all evidence and factual, inferences in a
       the experts' testimony, the Court is satisfied     light most favorable to the non-moving party, Sam-
       that plaintiffs in this case meet the require-     ples v. City of Atlanta, 846 F.2d 1328, 1330 (11th
       ments of Rule 23. Id.                              Cir. 1988), "the mere existence of some alleged fac-
                                                          tual dispute between the parties will not defeat an
III. Masco's Motion for Summary Judgment                  otherwise properly supported motion for summary
                                                          judgment; the requirement is [*38] that there be no
A. Summary Judgment Standard                              genuine issue of material fact." Anderson, 477 U.S.
                                                          at 247-48 (1986).
    Summary judgment is appropriate "if the plead-
ings, the discovery and disclosure materials on file,
                                                          B. Liability Under the Antitrust Laws
and any affidavits show that there is no genuine
issue as to any material fact and that the movant             Plaintiffs' claims arise under Section One of the
party is entitled to a judgment as a matter of law."      Sherman Act, which prohibits any "contract, com-
FED. R. CIV. P. 56(c). A fact's materiality is de-        bination in the form of trust or otherwise, or con-
termined by the controlling substantive law. Ander-       spiracy, in restraint of trade or commerce," 15
son v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106        U.S.C. § 1. To show a violation of Section One,
S. Ct. 2505, 91 L. Ed. 2d 202 (1986). An issue is         plaintiffs must produce evidence of an agreement or
genuine when the evidence is such that a reasonable       concerted activity on the part of Masco and the
                                                          manufacturers to unreasonably restrain trade. U.S.
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Anchor Mfg., Inc. v. Rule Indus., Inc., 7 F.3d 986,      an antitrust violation. See Comfort Trane Air Condi-
1001 (11th Cir. 1993). 11 In order to recover on their   tioning Co. v. Trane Co., 592 F.2d 1373, 1383 (5th
Section One claims, plaintiffs must also show that       Cir. 1979) (holding that an express agreement is not
they were damaged by the violation. Id.                  required to prevail on an antitrust claim). However,
                                                         evidence of "conscious parallelism" in pricing deci-
       11     Section One also requires that the         sions, which is not in itself illegal, is insufficient to
       agreement affect interstate commerce. See         support an inference of an illegal agreement in re-
       Constr. Aggregate Transp., Inc. v. Florida        straint of trade. Williamson Oil, 346 F.3d at 1301.
       Rock Indus., Inc., 710 F.2d 752, 766 (11th        See also Harcros, 158 F.3d at 571 (noting that oli-
       Cir. 1983). Masco does not challenge that         gopolies are often characterized by conscious paral-
       element, which is easily met in this case. Id.    lelism). In order to survive summary judgment,
       (noting that the interstate commerce element      plaintiffs must produce evidence that tends to ex-
       of Section One is satisfied by showing that       clude the possibility of synchronous, but indepen-
       "the business activities occurred in com-         dent and thus lawful, behavior on the part of Masco
       merce or that those activities had an effect on   and the manufacturers. Williamson Oil, 346 F.3d at
       commerce").                                       1302 and Harcros, 158 F.3d at 570-71 ("evidence
                                                         of consciously parallel behavior alone leaves the
1. Plaintiffs' Horizontal Conspiracy Claims              circumstantial evidence in equipoise").
     Plaintiffs [*39] contend that Masco orches-             There is no question that [*41] the insulation
trated and facilitated an agreement between the          manufacturers involved in this case exhibited "con-
manufacturers to maintain and increase Masco's           scious parallelism" in their pricing decisions rela-
spread in exchange for Masco's agreement to sup-         tive to Masco and other independent contractors.
port industry-wide price increases. (SAC [274] at P      Masco's representative, Donny DeMarie, acknowl-
2.) An agreement between the manufacturers to so         edged that all of the manufacturers maintained a
restrain trade would constitute a horizontal conspir-    spread between the prices offered to Masco and the
acy, which is per se unreasonable under the anti-        prices offered to other independent contractors.
trust laws. See U.S. v. Topco Assocs., Inc., 405 U.S.    (DeMarie Dep. [509] at 16-23, 53.) The manufac-
596, 608, 92 S. Ct. 1126, 31 L. Ed. 2d 515 (1972)        turers' representatives confirmed DeMarie's testi-
(defining a horizontal conspiracy as an "agreement       mony on this point. (Ingwalson Dep. [511] at 40-41
between competitors at the same level of the market      and Templeton Dep. [521] at 131-32.) The docu-
structure") and Cha-Car, Inc. v. Calder Race             mentary evidence suggests that the manufacturers
Course, Inc., 752 F.2d 609, 613 (11th Cir. 1985)         "ha[d] allowed this spread to be a minimum of 12-
(recognizing that a horizontal market division is per    15% over the years." (June 26, 2002 Notes from JM
se illegal). Thus, in order to prevail on their hori-    Meeting at PA 762.)
zontal conspiracy claims, plaintiffs need only pro-
                                                              In addition, plaintiffs have produced a wealth of
duce evidence of: (1) an agreement between the
                                                         evidence suggesting that the manufacturers' parallel
manufacturers to restrain trade; and (2) resulting
                                                         pricing strategy was not merely the result of lawful,
damage. Todorov v. DCH-Healthcare Auth., 921
                                                         synchronous behavior. 12 First, there are numerous
F.2d 1438, 1455 (11th Cir. 1991) ("In cases where
                                                         documents in the record reflecting the manufactur-
the per se rule applies, such as horizontal price-
                                                         ers' apparent need to clear pricing decisions with
fixing cases, the only inquiry is whether there was
                                                         Masco to ensure that those decisions did not violate
an agreement to restrain trade, since the unreasona-
                                                         a formerly agreed-upon spread. In one email ex-
bleness of the restraint is presumed.").
                                                         change, CT executives discussed a plan "to make
    a. [*40] Evidence of an Agreement                    31-W (another contractor) a [*42] proposal at 10-
                                                         12% above Masco." (July 19, 2002 Email from Da-
    Plaintiffs may rely on direct or circumstantial
                                                         vid Boivin at PA 1268.) The email indicates that,
evidence to show an agreement to restrain trade.
                                                         prior to implementing the plan, CT should:
Williamson Oil Co., Inc. v. Philip Morris USA, 346
F.3d 1287, 1301 (11th Cir. 2003). Moreover, an
agreement need not be formal or express to support
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        call Steve Raia, Donny [DeMarie,                    Other documents indicate that Masco enforced
      Masco executives] ... and explain that            the spread agreement by communicating directly
      we are giving a pricing proposal to               with the manufacturers, and sometimes demanding
      31-W that establishes them at a gap               price adjustments, when it received reports or oth-
      we feel is appropriate to Masco as we             erwise became aware of violations. In one calendar
      promised, and we do not want our ac-              entry, CT executive Jeffrey Templeton notes that he
      tions misinterpreted in the market.               had been informed that Masco "caught OC @ IDI
                                                        with equal pricing, also 31W." (June 13, 2002 Ca-
                                                        lendar Entry by Jeffrey Templeton at PA 1302.) A
(Id.) Similarly, Knauf's Vice President wrote in a      2002 JM memorandum similarly states that "OC
2003 email:                                             has been found in violation of the spread. Masco
         I need to complete a phone conver-             has found instances [*44] where OC had indepen-
       sation with Masco leadership before              dents priced at levels that reduced the spread."
       we pull the trigger on this [pricing             (June 26, 2002 Notes from JM Meeting at PA 762.)
       proposal]. I need you to put the pric-           Several documents reference Masco's demand for
       ing proposal together that you are re-           price adjustments from all of the manufacturers as a
       commending we take to [the contrac-              result of OC's spread violation. In one such docu-
       tor] inclusive of any rebates, volume            ment, Templeton laments that "OC gets caught and
       commitments. Give me something I                 we pay with lower revenues. Cost us $ 422,500 a
       can say YES to. I will call you after I          month?" (June 13, 2002 Calendar Entry by Jeffrey
       discuss things with Masco to discern             Templeton at PA 1302.) JM's documents reflect a
       what our risk of becoming visible                similar demand for a price, reduction after Masco
       with [this contractor] is.                       learned that OC was selling to other contractors at
                                                        prices "close" to Masco's. (June 17, 2002 JM Price
                                                        Request Form Notations at PA 1478.)
(February 5, 2003 Email from Jeff Brisley at PA
                                                             There are also a number of documents suggest-
735.)
                                                        ing that the manufacturers policed the spread them-
                                                        selves by reporting violations directly to Masco.
      12 Masco argues that some of this evidence
                                                        Upon learning of JM's price quote to one indepen-
      is inadmissible hearsay. (Masco Reply Brief
                                                        dent contractor, a CT executive told his subordinate
      [462] at 10-11.) The Court does not agree.
                                                        to "tell Donny [DeMarie] that. JM has dropped a
      As a general matter, the evidence does not
                                                        medium sized retail account to within a smidge [sic]
      qualify as hearsay because it is not being of-
                                                        of the Masco price. We may need his help to send
      fered to show the truth of the matter asserted,
                                                        JM the correct message." (March 20, 2001 Email
      [*43] but rather to show that there was an
                                                        from David Boivin at PA 1307 and Templeton Dep.
      agreement or conspiracy. See FED. R. EVID.
                                                        [521] at 166-72.) On another occasion, a CT ac-
      801. In addition, the majority of the evidence
                                                        count manager was [*45] directed to "make [De-
      is admissible under Rule 801(d)(2)(E), ex-
                                                        Marie] aware that Wilson is purchasing JM and
      cluding co-conspirator statements from the
                                                        perhaps they have positioned him very aggressively
      hearsay rule. See FED. R. EVID.
                                                        in that market." (October 9, 2000 Email from Ri-
      801(d)(2)(E). Finally, many of the docu-
                                                        chard Parker at PA 1308-09 and DeMarie Dep.
      ments presented by plaintiffs are admissible
                                                        [509] at 146.) CT was likewise aware that if it lo-
      as business records under Rule 803(6). See
                                                        wered its relative price to an independent contrac-
      FED. R. EVID. 803(6) (permitting a "memo-
                                                        tor, one of the other manufacturers "would be on
      randum, report, record, . . . in any form, of
                                                        the phone to Masco pronto saying CT is not main-
      acts, events, conditions, [or] opinions . . .
                                                        taining the increase." (January 29, 2003 Email from
      made at or near the time by, or from informa-
                                                        Jeffrey Templeton at PA 1313.)
      tion transmitted by, a person with know-
      ledge, if kept in the course of a regularly            Finally, there are several documents that memo-
      conducted business activity").                    rialize discussions between the manufacturers and
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Masco concerning a proposed arrangement whereby             Following the above discussions, the manufac-
Masco would support across-the-board price in-         turers did in fact implement across-the-board price
creases in exchange for a guaranteed spread. In        increases. 14 (Templeton Dep. [521] at 222-223;
notes taken by Guardian's Gary Romes during a          Leitzinger [*47] Report [434-2] at PP 97-102.)
meeting with Mr. DeMarie, Romes states:                With regard to those price increases, Knauf's repre-
                                                       sentative observed that: "[b]ecause the Masco com-
        He [DeMarie] is concerned that                 panies represent better than half of the installed
      [with] 1.6 million [housing] starts;             market, their support of the increase is essential to-
      there is so much extra capacity on [fi-          it sticking. We need this increase desperately. We
      berglass. insulation] batts. Lower               must see that all of this increase gets passed to eve-
      prices don't necessarily help them;              ryone," (April 12, 2001 Email from Jeff Brisley at
      Masco just wants to maintain a spread            PA 696.) CT's executives similarly noted that they:
      with everyone else; as prices go lower
      that becomes more difficult. They                         Ha[d] received confirmation of both
      want to maintain a spread at a higher                   OC & JM announcing a 10% increase.
      price level - we agreed.                                The early sentiment is that Masco
                                                              needs to support this in the field, and
                                                              they need to inform their branches &
(February 28, 2002 Gary Romes' Notes from [*46]               builders ASAP. There is plenty of
Meeting with Masco at PA 1460.) An email written              skepticism that if Masco is not leading
by CT's Vice President of Sales and Marketing                 this increase to the builders, it will not
echoes the above sentiment, stating:                          stick.
        What we really need is to convince
      them [Masco] that they can lead the
      industry in getting pricing up in the            (November 30, 2002 Monthly Report from Mike
      market if we commit to a reasonable              Clements at PA 1322.) DeMarie's testimony, as
      gap. I don't know how we do this well            well as other documentary evidence, suggests that
      without crossing the line on certain             Masco conditioned its support on an agreement
      antitrust/price fixing rules. It's not           from the manufacturers to maintain or increase the
      about setting a price in a market, it's          spread. (DeMarie Dep. [509] at 101; April 15, 2001
      about making sure we can generate an             CT Interoffice Memo by Joseph Quigley at PA
      appropriate return for the investment            1135.)
      we make. If all they want is the lowest
      price they can manipulate from the                      14 Documentary evidence reflects identical
      mfgs. Then there won't be investments                   price changes in very close time frames. (See
      made.                                                   May 23, 2002 Letter from CT [*48] at PA
                                                              1317; May 15, 2002 Letter from OC at PA
                                                              1318; May 20, 2002 Letter from JM at PA
(June 21, 2002 Email from David Boivin at PA                  1319; and May 20, 2002 Letter from Guar-
1137.) 13                                                     dian at PA 1320; May 29, 2002 Letter from
                                                              Knauf at 1321.)
      13 Notes taken by Masco executive Joe
                                                           In addition to all of the evidence described
      Carrington reflect similar negotiations with
                                                       above, other documents in the record indicate that:
      OC to "guarantee the spread." (March 11,
                                                       (1) Masco passed information between the manu-
      2004 Notes for Masco Meeting with OC at
                                                       facturers about when the parties could support fu-
      PA 795-96.) In addition, JM acknowledged
                                                       ture price increases (See July 31, 2001 Calendar
      its support for Masco's need for the spread in
                                                       Entry by Jeffrey Templeton at PA 1331 (stating
      an interoffice memo to new management.
                                                       "per Donny [DeMarie] - OC going to announce an
      (June 26, 2002 JM Meeting Notes at PA 762
                                                       increase") and Undated JM Memo at PA 766 ("You
      and Dudley Colton Dep. [541] at 35-36.)
                                                       can count on our support to get the prices up. You
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can tell my competitors that we are holding firm."));    "impact" evidence. Nichols v. Mobile Bd. of Real-
(2) Masco worked to ensure that the manufacturers        tors, Inc., 675 F.2d 671, 676 (5th Cir. 1982) ("The
held firm to price increases after they were an-         requirement of the 'fact of damage,' also called
nounced, (See September 5, 2001 Email from Don-          'impact,' means that the antitrust violation must
ny DeMarie at PA 1327 (warning CT that "[i]f             cause injury to the antitrust plaintiff."). The record
Manville [JM] THINKS you did not go up they will         in this case contains sufficient impact evidence to
not go up") and Templeton Dep. [521] 238-42); (3)        raise a question of fact for the jury.
Masco's spread increased as a result of the price
                                                             After analyzing the relevant market data, Dr
increases (Templeton Dep. [521] at 237-38, Ingwal-
                                                         Leitzinger found that plaintiffs likely paid higher
son Dep. [511] at 104; Leitzinger Report [434-2] at
                                                         prices for insulation during the conspiracy period.
PP 103-09 & Ex. 20); and (4) the spread decreased
                                                         (Leitzinger Report [434-2] at PP 115-17.) Further,
in 2004 when two manufacturers broke ties with
                                                         Dr. Leitzinger directly attributed the elevated prices
[*49] Masco (See June 23, 2004 Email from Brady
                                                         to the agreement between Masco and the manufac-
Adkins of Knauf at PA 321 (referencing JM's break
                                                         turers to maintain and increase Masco's spread. (Id.)
with Masco and stating "we have heard and we
                                                         Masco suggests that Dr Leitzinger's statistical anal-
have documented pricing erosion due to this market
                                                         ysis is insufficient to prove impact. However, Mas-
shift") and June 1, 2004 Email from Gary Romes of
                                                         co does not point to any specific [*51] flaws or
Guardian at PA 1448 (noting that after the two
                                                         omissions that would invalidate Dr. Leitzinger's
manufacturers broke ties with Masco, getting "the
                                                         conclusions. See Harcros, 158 F.3d at 565 ("As
'spread back to where it was last year' was unlike-
                                                         circumstantial evidence, [expert]'s data and testi-
ly)). All of these documents bolster plaintiffs' claim
                                                         mony need not prove the plaintiffs' case by them-
that Masco facilitated and participated in a horizon-
                                                         selves, they must merely constitute one piece of the
tal conspiracy to restrain trade in the fiberglass in-
                                                         puzzle that the plaintiffs endeavor to assemble be-
sulation industry. 15
                                                         fore the jury.") and Law v. NCAA, 5 F. Supp. 2d
                                                         921, 927 (D. Kan 1998) ("Any evidence which is
       15 In light of the substantial evidence in the
                                                         logically probative of a loss attributable to the vi-
       record, Masco's reliance on Williamson Oil is
                                                         olation will advance plaintiffs' case.").
       unavailing. See Williamson Oil, 346 F.3d at
       1293-94 (upholding summary judgment on                As noted above, plaintiffs also produce evi-
       an antitrust claim based primarily on a mar-      dence that Masco's spread deteriorated, and prices
       ket signal theory). Blomkest Fertilizer is si-    for other contractors correspondingly decreased,
       milarly inapposite. See Blomkest Fertilizer,      almost immediately after two manufacturers backed
       Inc. v. Potash Corp., 203 F.3d 1028, 1034-35      out of the alleged conspiracy. (See July 22, 2004
       (8th Cir. 2000) (finding insufficient evidence    JM Price Request Form at PA 287 ("With the Mas-
       of an agreement based on plaintiffs' allega-      co relationship now broken . . .") and June 23, 2004
       tions of sporadic pricing verifications).         Email from Brady Adkins of Knauf at PA 321-23
                                                         (documenting price erosion as a result of the break
    b. Impact
                                                         with Masco).) These documents bolster plaintiffs'
    Plaintiffs must also show that they were dam-        claim that they paid higher prices for insulation
aged by Masco's conduct in order to recover on           products during the conspiracy period, as a direct
their horizontal conspiracy claims. See Gulf States      result of the spread mandated by the conspiracy.
Reorganization Group, Inc. v. Nucor Corp., 466
                                                             Finally, impact is evident in this case from a
F.3d 961, 966 (11th Cir. 2006) [*50] ("[P]laintiffs
                                                         common sense point of [*52] view. Construing the
challenging violations of antitrust laws must also
                                                         evidence in favor of plaintiffs, the conspiracy be-
show that they have suffered 'antitrust injury'") and
                                                         tween Masco and the manufacturers raised the start-
Cable Holdings of Georgia, Inc. v. Home Video,
                                                         ing point for all price negotiations with independent
Inc., 825 F.2d 1559, 1562 (11th Cir. 1987) ("An
                                                         contractors. Beginning as they did with an artificial-
antitrust plaintiff must show that he has been dam-
                                                         ly elevated floor below which prices could not fall,
aged and that the antitrust violation alleged is the
                                                         plaintiffs could only go so far in obtaining a lower
cause of his injury."). This is often referred to as
                                                         price through individual negotiations. It is well-
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established that "class plaintiffs may succeed in                16 The vertical agreements described by
proving classwide impact by showing that the min-                plaintiffs do not include any specified retail
imum baseline for beginning negotiations, or the                 price or range of prices. Accordingly, the per
range of prices which resulted from negotiation,                 se rule that applies to vertical agreements
was artificially raised (or slowed in its descent) by            that expressly fix prices is not appropriate
the collusive actions of the defendants." In re                  here. See Bus. Elec. Corp. V. Sharp Elec.,
Commercial Tissue Prods., 183 F.R.D. at 595. See                 Corp., 485 U.S. 717, 724, 108 S. Ct. 1515,
also In re Catfish Antitrust Litig., 826 F. Supp.                99 L. Ed. 2d 808 (1988) ("we have recog-
1019, 1040-41 (N.D. Miss. 1993) ("[A] conse-                     nized that the scope of per se illegality
quence of the alleged conspiracy is that the artificial          should be narrow in the context of vertical
minimum price became the benchmark from which                    restraints") and Center Video Indus. Co., Inc.
catfish prices were negotiated or discounted.") and              v. United Media, Inc., 995 F.2d 735, 739 (7th
In re Domestic Air Transp., 137 F.R.D. at 689                    Cir. 1993)(finding no per se violation in the
(holding that inflated fares resulted in an artificial           absence of an agreement between the manu-
"base" price that became the benchmark for nego-                 facturer and the retailer to "maintain retail
tiated fares). Accordingly, Masco's motion for                   prices within a specific range").
summary judgment on plaintiffs' [*53] horizontal
                                                               Plaintiffs can demonstrate that an agreement
conspiracy claims is DENIED.
                                                          had an anti-competitive effect on the market in two
                                                          ways. First, plaintiffs may prove "actual detrimental
2. Plaintiffs' Vertical Conspiracy Claims
                                                          effects" on competition. Levine v. Cent. Florida
    Plaintiffs alternatively assert that Masco entered    Med. Affiliates, Inc., 72 F.3d 1538, 1551 (11th Cir.
into a separate agreement with each manufacturer to       1996). Alternatively, plaintiffs can show that the
maintain and increase the spread. (SAC [274] at PP        vertical agreements had "the potential for genuine
47-50.) Plaintiffs contend that these "vertical con-      adverse effects" as a result of the conspirators' mar-
spiracies" also violated Section One of the Sherman       ket power. [*55] Id. at 1552. Plaintiffs do not at-
Act. (Id.)                                                tempt to show that any of the individual vertical
                                                          conspiracies detrimentally affected competition, or
     The evidence described above is sufficient to
                                                          that they had the potential to do so. 17 Instead, plain-
raise a question of fact as to whether Masco entered
                                                          tiffs argue that the combined effects of the vertical
into a series of vertical agreements concerning the
                                                          agreements are sufficient to show an adverse effect
spread, and whether plaintiffs were damaged by
                                                          on competition. (Pls.' Opp'n to Summ. J. [446] at
those agreements. However, to prevail on their ver-
                                                          35-36.)
tical conspiracy claims, plaintiffs must produce ad-
ditional evidence that the vertical agreements re-
                                                                 17 Plaintiffs concede that Dr. Leitzinger did
sulted in an unreasonable restraint of trade. 16 Bus.
                                                                 not render an opinion on the effects of the
Elec. Corp. Sharp Elec. Corp., 485 U.S. 717, 735,
                                                                 separate, purely vertical agreements between
108 S. Ct. 1515, 99 L. Ed. 2d 808 (1988) (recogniz-
                                                                 Masco and the individual manufacturers.
ing that a vertical conspiracy is not generally a per
                                                                 (Pls.' Opp'n to Summ. J. [446] at 35.)
se violation of the antitrust laws). This inquiry is
governed by the "rule of reason." See Graphic                  Several circuit courts have specifically rejected
Prods., 717 F.2d at 1568 (applying the rule of rea-       the aggregate approach advocated by plaintiffs. See
son analysis to a vertical conspiracy claim). In order    Dickson Microsoft Corp., 309 F.3d 193, 203-204
to survive summary judgment under the rule of rea-        (4th Cir. 2002) and PepsiCo, Inc. v. Coca-Cola Co.,
son, plaintiffs must show that the alleged vertical       315 F.3d 101, 109-10 (2d Cir. 2002). 18 The plain-
conspiracies had an anti-competitive [*54] effect in      tiffs in Dickson alleged multiple vertical conspira-
the industry. Id. at 1572-73. They also must rebut        cies between one common defendant and various
any showing by Masco that the restraints were pro-        individual defendants. Dickson, 309 F.3d at 203. In
competitive. Id.                                          spite of the common defendant, the Fourth Circuit
                                                          refused to imply a single, general conspiracy in the
                                                          absence of an agreement between or concerted ac-
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tion by the non-connected defendants. Id. Conse-         anti-competitive effect on the market. Accordingly,
quently, the Court found no basis for considering        the Court GRANTS Masco's Motion for Summary
[*56] the combined effects of the separate vertical      Judgment [435] as to plaintiffs' vertical conspiracy
conspiracies to show an anti-competitive effect on       claims.
the market. Id. at 211 ("each . . . agreement must be
treated as a separate conspiracy, and only acts taken    C. Statute of Limitations
in furtherance of that alleged conspiracy are appro-
                                                             As an alternative ground for summary judg-
priately considered in determining the adverse ef-
                                                         ment, [*58] Masco argues that plaintiffs' claims for
fects of the claimed restraints on trade, not acts of
                                                         damages that occurred before October 19, 2000 are
one conspirator taken in furtherance of other possi-
                                                         time barred. (Def.'s Mem. for Summ. J. [435-2] at
ble, distinct conspiracies"). See also PepsiCo, Inc.,
                                                         45-49.) Under the antitrust laws, "'a cause of action
315 F.3d at 110 (rejecting plaintiff's "hub and
                                                         accrues and the statute [of limitations] begins to run
spokes" theory) and Masco Contractor Serv. E.,
                                                         when a defendant commits an act that injures the
Inc. v. Beals, 279 F. Supp. 2d 699, 705 (E.D. Va.
                                                         plaintiffs' business.'" Morton's Market, Inc. v. Gus-
2003) ("in the absence of any allegations of agree-
                                                         tafson's Dairy, Inc., 198 F.3d 823, 827 (11th Cir.
ments between 'spokes,' a single 'rimless wheel'
                                                         1999) (quoting Zenith Radio Corp. v. Hazeltine Re-
conspiracy must be evaluated as several individual
                                                         search, Inc., 401 U.S. 321, 338, 91 S. Ct. 795, 28 L.
conspiracies"). 19
                                                         Ed. 2d 77 (1971)). A plaintiff must file suit within
                                                         four years of that act in order to assert a timely
       18 Although the Eleventh Circuit has not
                                                         claim. 15 U.S.C. § 15b.
       squarely addressed the issue, it has suggested
       that the aggregate approach advocated by               Plaintiffs claim that Masco's conspiracy with
       plaintiffs is inappropriate. See Maris Distrib.   the manufacturers began in January of 1999. (SAC
       Co. v. Anheuser-Busch, Inc., 302 F.3d 1207,       [274] at P 30.) Plaintiffs did not file their claim un-
       1218 (11th Cir. 2002) (refusing to aggregate      til October 19, 2004. (Id.) Plaintiffs, however, argue
       the market share of all of Anheuser-Busch's       that the statute of limitations was tolled from Janu-
       distributors in a case involving multiple ver-    ary 1999 through October 2000 because Masco
       tical restraints).                                fraudulently concealed its wrongdoing. (Pls.' Opp'n
       19 Even those courts that have accepted the       to Summ. J [446] at 46-50.) In order to defeat plain-
       "rimless [*57] wheel" theory have required        tiffs' tolling argument on summary judgment, Mas-
       an overarching "common design" among the          co must conclusively show that plaintiffs knew
       various defendants. See Impro Prod., Inc. v.      about their claim, or that they had sufficient notice
       Herrick, 715 F.2d 1267, 1279 (8th Cir.            to prompt an investigation and would have discov-
       1983). The only attempt plaintiffs have made      ered [*59] the claim in the exercise of due dili-
       to show a "common design" is in relation to       gence. Morton's Market, 198 F.3d at 832. Masco
       their horizontal conspiracy claims.               has not met that burden here.
    The Court is persuaded by the reasoning of                 In support of its motion, Masco points to one
Dickson that there is no basis for considering the       plaintiff's testimony that he knew before 2000 that
combined effects of the multiple vertical conspira-      Masco received favorable prices. (Def.'s Mem. for
cies alleged by plaintiffs in the absence of an          Summ. J. [435-2] at 49.) It also cites another plain-
agreement between or concerted action by the man-        tiff's email that refers to "all of the stories over the
ufacturers. If plaintiffs are able to show an agree-     years about Gale and the other large organizations
ment between the manufacturers, then they will           entering markets and playing games with pricing."
prevail on their horizontal conspiracy claims. In that   (Id.) Although these rumors about Masco's pricing
case, there will be no need to consider plaintiffs'      advantages are relevant to the tolling inquiry, they
vertical conspiracy claims. On the other hand, if        do not establish knowledge as a matter of law. Mor-
plaintiffs are not able to establish an agreement be-    ton's Market, 198 F.3d at 833 (holding that news
tween the manufacturers, then their vertical con-        and publicity surrounding the defendants' confirmed
spiracy claims necessarily fail for lack of any evi-     bid rigging conspiracy did not constitute notice of
dence that each separate vertical conspiracy had an      defendant's other misconduct as matter of law).
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Moreover, "the issue of when a plaintiff in the exer-         As to plaintiffs' theory of liability, Masco con-
cise of due diligence should have known of the ba-        tends that it invested a significant amount of re-
sis for his claims" is generally a question of fact for   sources and time into defending plaintiffs' initial
the jury. Id. at 832 (quoting Smith v. Duff and           conspiracy claims, which were limited a plan to
Phelps, Inc., 891 F.2d 1567, 1572 (11th Cir. 1990)).      impose a specific minimum spread between the
                                                          prices offered to Masco and the prices offered to
    In this case, the record evidence concerning
                                                          other contractors. (Id. at 4-7.) According to Masco,
plaintiffs' actual or constructive knowledge is not
                                                          plaintiffs' subsequent pursuit of a more amorphous
sufficiently determinative [*60] to support sum-
                                                          theory involving a non-specific spread vexatiously
mary judgment. Questions of fact remain as to
                                                          multiplied the proceedings. (Id.) However, neither
whether plaintiffs knew or should have known
                                                          the original complaint, nor either of the amended
about their claims prior to October 2000, and those
                                                          complaints, limit the alleged conspiracy to a speci-
questions must be resolved by the jury. Id. Accor-
                                                          fied minimum spread. (Compl. [1], FAC [203], and
dingly, Masco's motion for summary judgment on
                                                          SAC [274].) Instead, the complaints generally al-
statute of limitations grounds is DENIED.
                                                          lege that Masco and the manufacturers conspired
                                                          "to raise and fix the prices for residential fiberglass
IV. Masco's Motion for Sanctions
                                                          insulation" and "to sell [*62] residential fiberglass
    Masco has filed a motion for sanctions under 28       insulation to independent contractors at prices that
U.S.C. § 1927. (Def.'s Br. in Supp. of Sanctions          are a significant percentage above those offered to
[523] at 1-2.) Section 1927 provides that:                Masco." (Id.) This phrasing is equally consistent
                                                          with a specific spread and a non-specific spread.
         [a]ny attorney . . . who so multiplies           (See Pls.' Resp. [547] at 5.)
       the proceedings in any case unreason-
                                                               Moreover, there is no evidence in the briefs or
       ably and vexatiously may be required
                                                          the record suggesting that plaintiffs committed to a
       by the court to satisfy personally the
                                                          specific minimum spread theory as their only theory
       excess costs, expenses and attorneys'
                                                          of liability. The testimony of plaintiffs' first expert,
       fees reasonably incurred because of
                                                          Dr. Del Roccili, confirms that plaintiffs' conspiracy
       such conduct.
                                                          allegations were not so limited:

                                                                   Q. [Defense Counsel] And under
28 U.S.C. § 1927. Mere negligence is insufficient to
                                                                 what you've called the margin theory
warrant sanctions under § 1927. Schwartz v. Millon
                                                                 of the conspiracy-
Air, Inc., 341 F.3d 1220, 1225 (11th Cir. 2003)
(quoting Malautea v. Suzuki Motor Co., Ltd., 987                     A. [Dr. Del Roccili] Yes.
F.2d 1536, 1544 (11th Cir. 1993)). The statute is
                                                                    Q. - there is a floor below which
intended to sanction attorneys who "willfully abuse
                                                                 no class member generally was al-
the judicial process, by conduct tantamount to bad
                                                                 lowed to purchase; correct?
faith." Id.
                                                                     A. I think a specific floor may be
    In support of its motion for sanctions, Masco
                                                                 too - there is an agreement to raise the
argues that plaintiffs belatedly changed their theory
                                                                 price that residential contractors pay
of liability and amended their class [*61] defini-
                                                                 relative to Masco is what I believe the
tion, wasting the Court's resources and causing
                                                                 theory is. Is there a specific floor? I
Masco unnecessary trouble and expense. (Def.'s Br.
                                                                 don't think that's exactly it.
in Supp. of Sanctions [523] at 1-2.) In addition,
Masco contends that plaintiffs improperly asserted                   Q. Does your theory of common
vertical conspiracy claims in their renewed motion               impact depend then upon the spread
for class certification, although plaintiffs had pre-            across the suppliers being the same?
viously abandoned those claims. (Id.) Neither ar-                    A. No.
gument is persuasive.
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                                                          filing was delayed, at least in part, because plain-
(Del Roccili Dep. at 121, attached to Pls.' Resp.         tiffs combined their notice to the Court with their
[547] at Ex 2.) Dr. Leitzinger's work is consistent       substantive response to Masco's October 4, 2006
with Dr. [*63] Del Roccili's with respect to plain-       preemptive filing. 20 (Pls.' Resp. [547] at 13.) In any
tiffs' theory of liability. (Leitzinger Report at PP      event, the relatively brief lapse [*65] of time did
103-113.)                                                 not unnecessarily multiply the proceedings or cause
                                                          Masco to incur any additional expense.
    With regard to the amended class definition, it
is well-recognized that "[t]he act of refining a class
                                                                 20 After receiving Dr. Leitzinger's Report
definition is a natural outcome of federal class ac-
                                                                 and notice of a new proposed class defini-
tion practice." In re Domestic Air Transp. Litig.,
                                                                 tion, defendants filed an emergency motion
137 F.R.D. at 683. See also Shin v. Cobb County
                                                                 notifying the Court of and objecting to a po-
Bd. of Educ., 248 F.3d 1061, 1064 (11th Cir.
                                                                 tential change in class definition. (Emergen-
2001)(noting the district court's duty to reevaluate
                                                                 cy Motion for Leave to File a Supplemental
class definitions in light of new or changing cir-
                                                                 Br. in Opp'n to Pls.' Mot. for Class Certifica-
cumstances). This is particularly true in antitrust
                                                                 tion [379].) Plaintiffs did not oppose Masco's
cases "where the proof and details of the alleged
                                                                 motion to file a supplemental brief with re-
conspiracy are largely in the hands of the alleged
                                                                 gard to class certification, and substantive
co-conspirators." Quality Foods de Centro Am.,
                                                                 briefing ensued promptly. (Pls.' Resp. to
S.A. v. Latin Am. Agribusiness Dev. Corp., S.A., 711
                                                                 Emergency Motion [381].)
F.2d 989, 995 (11th Cir. 1983). As a result, it is not
uncommon for a class to change "radically as dis-              Finally, the Court rejects Masco's suggestion
covery progresses." Prado-Steiman, 221 F.3d at            that plaintiffs acted improperly in reasserting their
1273.                                                     vertical conspiracy claims in their renewed motion
                                                          for class certification. Plaintiffs' original motion for
     In this case in particular, the unfortunate death
                                                          certification did not specify the claims that the puta-
of Dr. Del Roccili delayed plaintiffs' ability to re-
                                                          tive class wished to be certified. (See Motion to
fine the class definition. Because Dr. Leitzinger had
                                                          Certify Class [347].) Masco argues that plaintiffs
no prior involvement with the case, it took him a
                                                          thus abandoned their vertical conspiracy claims by
considerable amount of time to "master[] the manu-
                                                          failing to positively assert them in that motion,
facturer databases," "develop a method to [*64]
                                                          (Masco's Br. in Supp. of Sanctions [523] at 9-10.)
compare those prices across different manufactur-
                                                          According to Masco, plaintiffs acted improperly
ers," and then produce his report. (Pls.' Resp. [547]
                                                          and violated this Court's Order [*66] when they
at 12.) It was not until plaintiffs received Dr. Leit-
                                                          reasserted their vertical conspiracy claims in their
zinger's report, on September 15, 2006, that they
                                                          renewed motion for class certification. (Id.) The
could have possibly proposed a new class defini-
                                                          Court does not agree.
tion. (Id.)
                                                              Although the original motion for certification
     As soon as plaintiffs received Dr. Leitzinger's
                                                          does not specify the claims for which plaintiffs
report, they submitted a copy to Masco. A month
                                                          sought certification, it requested certification "based
later, plaintiffs notified the Court of their intention
                                                          on the allegations in the complaint," which clearly
to amend the class definition, in accordance with
                                                          encompass vertical conspiracy Claims. (Pls.' Mot.
Dr. Leitzinger's findings. (See Pls.' Notice of
                                                          to Certify Class [347] at 2.) In addition, there is
Amending Proposed Class Definition [387].) The
                                                          other evidence suggesting that plaintiffs always in-
month-long delay created a potential problem be-
                                                          tended to pursue their vertical conspiracy allega-
cause plaintiffs' original class certification motion
                                                          tions as a class. For example, Dr. Del Roccili testi-
was already pending before the Court when the new
                                                          fied that the regression methods he proposed could
analysis was revealed. (See Original Mot. to Certify
                                                          be used for impact whether the conspiracy was
Class [347].) Thus, the Court could have ruled on
                                                          identified as horizontal or vertical. (Del Roccili
the original class certification motion without
                                                          Dep. at 93-95.) Moreover, Masco's class certifica-
knowing that another class definition was going to
                                                          tion expert addressed plaintiffs' vertical conspiracy
be proposed However, plaintiffs explain that the
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theory in his original report, suggesting that Masco     CONCLUSION
understood the theory to be one that plaintiffs
                                                              For the foregoing reasons, the Court DENIES
planned to pursue as a class. (See Kaplan Report at
                                                         defendant's Motion to Exclude the Expert Testi-
PP 31-32 and 111-12.) Although it might have alle-
                                                         mony of Jeffrey Leitzinger [434], GRANTS plain-
viated some confusion if plaintiffs had more clearly
                                                         tiffs' Renewed Motion for Class Certification
asserted their intention to move forward on their
                                                         [474], GRANTS in part and DENIES in part de-
vertical conspiracy claims in their original motion,
                                                         fendant's Motion for Summary Judgment [435],
[*67] their failure to do so does not evidence bad
                                                         DENIES defendant's Motion for Sanctions [523],
faith.
                                                         and DENIES as moot plaintiffs' Motion for Leave
    Masco has not produced any evidence that             to File a Supplemental Brief in Opposition to the
plaintiffs unreasonably or vexatiously multiplied        Motion for Sanctions [560].
the proceedings, or that they acted in bad faith, by
                                                              SO ORDERED, this 9 day of February, 2009.
including their vertical conspiracy claims in their
renewed motion for class certification, amending              /s/ Julie E. Carnes
their class definition, or focusing on a slightly dif-        JULIE E. CARNES
ferent theory of liability. Accordingly, Masco's mo-
tion for sanctions is DENIED.                                 CHIEF UNITED STATES DISTRICT JUDGE
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                                   LEXSEE 2006 U.S. DIST. LEXIS 83424




Analysis
As of: Nov 27, 2009

               LOVELY H., GLORIA Q., and MICHELE N., on behalf of themselves and
               all others similarly situated, -against- Plaintiffs, VERNA EGGLESTON, as
                Administrator/Comm. New York City Human Resources Administration,
                                                 Defendant.

                                        No. 05 Civ. 6920 (LTS)(AJP)

              UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT
                                   OF NEW YORK

                                        2006 U.S. Dist. LEXIS 83424


                                        November 15, 2006, Decided

PRIOR HISTORY: Lovely H. v. Eggleston, 235
F.R.D. 248, 2006 U.S. Dist. LEXIS 21363                  JUDGES: LAURA TAYLOR SWAIN, United
(S.D.N.Y., 2006)                                         States District Judge.

COUNSEL: [*1] For Lovely H., individually and            OPINION BY: LAURA TAYLOR SWAIN
on behalf of all others similarly situated, Gloria Q.,
individually and on behalf of all others similarly       OPINION
situated, Michele N. individually and on behalf of
all others similarly situated, Plaintiffs: Carolyn       MEMORANDUM OPINION AND ORDER
Walker-Diallo, LEAD ATTORNEY, NYC Law
                                                             In this action Plaintiffs, who assert that they are
Department, Office of the Corporation Counsel,
                                                         welfare recipients with disabilities who reside in
New York, NY; Kathleen Mary Kelleher, LEAD
                                                         New York City, bring claims under Title II of the
ATTORNEY, Kenneth Richard Stephens, LEAD
                                                         Americans with Disabilities Act (the "ADA"), Sec-
ATTORNEY, Richard Elliott Blum, The Legal Aid
                                                         tion 504 of the Rehabilitation Act of 1974 ("the Re-
Society (NYC), New York, NY.
                                                         habilitation Act"), the Due Process Clauses of the
                                                         United States and New York State Constitutions,
For    Verna      Eggleston,   as     Administra-
                                                         [*2] and various New York State and City civil
tor/Commissioner of the New York City Human
                                                         rights and social services statutes and regulations,
Resources Administration, Defendant: Martha Anne
                                                         on behalf of themselves and a class of New York
Calhoun, LEAD ATTORNEY, Emily Sweet, Janice
                                                         City welfare recipients with disabilities. On April
Casey Silverberg, NYC Law Department, Office of
                                                         19, 2006, the Court granted Plaintiffs' motion to
the Corporation Counsel, New York, NY.
                                                         certify a class and subclass, and granted Plaintiffs'
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motion for a preliminary injunction, enjoining the           Fed. R. Civ. P. 15(a) provides that leave to
New York City Human Resources Administration             amend "shall be freely given when justice so re-
("HRA") from involuntarily reassigning class             quires." "[T]his mandate is to be heeded." Foman v.
members' welfare assistance cases to one of three        Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 9 L. Ed. 2d
Hub Centers established as part of the WeCARE            222 (1962).
program.
                                                                  If the underlying facts or circums-
    Plaintiffs now move the Court for an order
                                                                tances relied upon by a plaintiff may
granting them permission to amend their complaint
                                                                be a proper subject of relief, he [or
pursuant to Fed. R. Civ. P. 15(a), permitting the
                                                                she] ought to be afforded an opportu-
intervention of additional class members as party
                                                                nity to test his [or her] claim on the
plaintiffs pursuant to Fed. R. Civ. P. 23(d) and
                                                                merits. In the absence of any apparent
24(b), and amending the class definition. The Court
                                                                or declared reason-such as undue de-
has jurisdiction of the federal constitutional and
                                                                lay, bad faith or dilatory motive on the
statutory claims raised in this matter pursuant to 28
                                                                part of the movant, repeated failure to
U.S.C. §§ 1331 and 1343 and, as explained in the
                                                                cure deficiencies by amendments pre-
Court's preliminary injunction and class [*3] certi-
                                                                viously allowed, undue prejudice to
fication decision, also has supplemental jurisdiction
                                                                the opposing party by virtue of allow-
over the related state and local law claims. The
                                                                ance of the amendment, futility of
Court has considered thoroughly the parties' argu-
                                                                amendment, etc.-the leave sought
ments and submissions. For the reasons that follow,
                                                                should, as the rules require, be 'freely
Plaintiffs' motions are granted.
                                                                given.'
BACKGROUND
    The Court presumes familiarity with the back-        Id. (alterations added).
ground of this case as detailed in the earlier deci-
                                                             Clearly, there is no undue delay regarding
sion. See Lovely H. v. Eggleston, 235 F.R.D. 248
                                                         Plaintiffs' request to update their Complaint with
(S.D.N.Y. 2006). Following the Court's April
                                                         events that have occurred to Gloria Q. since the fil-
19,2006, Order, HRA informed the Court of its de-
                                                         ing of the Complaint. [*5] Defendants also make
cision to close the WeCARE Hub Centers and
                                                         no argument that this specific amendment would be
transfer the WeCARE designees' cases back to their
                                                         prejudicial, and the Court sees no reason to believe
neighborhood Job Centers.
                                                         it will be so. Thus, the request to amend the Com-
                                                         plaint with respect to events that have occurred to
DISCUSSION
                                                         Gloria Q. since the filing of the Complaint is
                                                         granted.
I. Motion to Amend the Complaint
                                                             The request to amend the Complaint to add
     Plaintiffs move to amend the Complaint in two
                                                         greater specificity to some of the claims in the
respects: first, they seek to amend the Complaint to
                                                         Complaint regarding HRA's alleged denial of rea-
provide a description of events that allegedly hap-
                                                         sonable accommodations at the Job Centers is also
pened to one of the original named Plaintiffs, Gloria
                                                         granted. Although claims regarding denial of rea-
Q., after the filing of the Complaint; and second,
                                                         sonable accommodations at the neighborhood Job
they seek to add greater specificity to some of the
                                                         Centers were not the primary focus of the original
claims in the Complaint regarding HRA's alleged
                                                         Complaint and have not been the focus of the litiga-
denial of reasonable accommodations at the Job
                                                         tion thus far, such allegations were included in the
Centers. Plaintiffs argue that these amendments will
                                                         Complaint when it was initially filed. See Com-
assist the Court in understanding more fully Plain-
                                                         plaint at P78, alleging that HRA has failed to "ade-
tiffs' [*4] claims and will not unduly prejudice
                                                         quately train and supervise its staff in local Job
Defendant or delay the litigation. Defendant argues
                                                         Centers regarding the rights of qualified individuals
that the amendments would be untimely and unduly
                                                         with disabilities, their rights to receive benefits and
prejudicial to Defendant.
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services pursuant to the ADA, and how to provide                 sumes that Plaintiffs seek to intervene three
reasonable accommodations to such individuals"; at               named Plaintiffs.
P80, alleging that the Job Centers "fail to provide
                                                               Fed. R. Civ. P. 24(b)(2) provides that, upon
reasonable modifications that HRA specifically re-
                                                          timely application, anyone may be permitted to in-
quires its [WeCARE [*6] providers to provide to
                                                          tervene in an action [*8] "when an applicant's
those participating in WeCARE]"; and P162, re-
                                                          claim or defense and the main action have a ques-
questing that the Court order HRA to "make rea-
                                                          tion of law or fact in common." Rule 24(b)(2) pro-
sonable accommodations available to class mem-
                                                          vides that "[i]n exercising its discretion, the court
bers . . . at their local welfare centers." Therefore,
                                                          shall consider whether the intervention will unduly
allowing the Plaintiffs to amend the Complaint to
                                                          delay or prejudice the adjudication of the rights of
provide greater specificity regarding these claims
                                                          the original parties." Fed. R. Civ. P.24(b)(2). "Addi-
will not unduly prejudice Defendant or delay the
                                                          tional relevant factors include the nature and extent
litigation. Additionally, the Court finds no evidence
                                                          of the intervenors' interests, the degree to which
of the other conditions outlined in Foman that
                                                          those interests are adequately represented by other
counsel against allowing amendment, such as bad
                                                          parties, and whether parties seeking intervention
faith or dilatory motive on the part of the movant,
                                                          will significantly contribute to full development of
repeated failure to cure deficiencies by amendments
                                                          the underlying factual issues in the suit and to the
previously allowed, or futility of amendment. Mind-
                                                          just and equitable adjudication of the legal ques-
ful that leave to amend is to be freely given when
                                                          tions presented." H.L. Hayden Co. of New York.
justice requires, the Court grants Plaintiffs' motion
                                                          Inc. v. Siemens Medical Systems, Inc., 797 F.2d 85,
to amend the Complaint.
                                                          89 (2d Cir. 1986). Courts in this District have held
                                                          that Rule 24(b)(2) should be construed liberally. See
II. Motion to Add New Party Plaintiffs
                                                          Degrafinreid v. Ricks, 417 F. Supp. 2d 403, 407
    Plaintiffs seek leave to intervene three 1 named      (S.D.N.Y. 2006). Fed. R. Civ. P. 23(d) provides that
Plaintiffs who are class members and who make             in class actions, the court may make appropriate
allegations regarding the denial of reasonable ac-        orders permitting class members "to [*9] intervene
commodations at Job Centers. They argue that per-         and present claims or defenses."
mission to intervene should be granted, as the dec-
                                                               As noted above, although they have not been
larations of these three Plaintiffs present common
                                                          the focus of the litigation to date, claims regarding
questions of law and fact, would assist the Court in
                                                          the alleged denial of reasonable accommodations at
understanding [*7] more fully Plaintiffs' claims and
                                                          local Job Centers have been part of the Complaint
would, in fact, assist the Court and the parties in
                                                          since the inception of this litigation. The Court con-
narrowing the scope of discovery. They also argue
                                                          cludes that the intervention of the three additional
that intervention would not delay the litigation or
                                                          named Plaintiffs will "significantly contribute to
prejudice the rights of the original parties. Defen-
                                                          full development of the underlying factual issues in
dants oppose the intervention, arguing that this case
                                                          the suit and to the just and equitable adjudication of
is nearing resolution and that Plaintiffs' motion is
                                                          the legal questions presented," H.L. Hayden Co. of
untimely.
                                                          New York, Inc., 797 F.2d at 89, and will not unduly
                                                          delay or prejudice the adjudication of the rights of
       1 Plaintiffs' memorandum of law in support
                                                          the original parties Accordingly, Plaintiffs' motion
       of their motion refers to three named Plain-
                                                          to intervene as named Plaintiffs Courtney B., Laura
       tiffs on page 5 and four named Plaintiffs on
                                                          S. and Eula S. is granted.
       page 9. Because the Plaintiffs' proposed
       amended class action complaint (attached as
                                                          III. Motion to Amend the Class Definition
       an exhibit to their motion papers) adds three
       named Plaintiffs to the caption, Courtney B.,           Finally, Plaintiffs seek an amendment of the de-
       Laura S. and Eula S., and because this ap-         finition of the certified class. They argue that the
       pears to be consistent with the declarations       changed landscape created by HRA's decision to
       attached to their motion papers, the Court as-     close the hub centers following the Court's April
                                                          19,2006, Order has necessitated such a change. The
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Court originally certified a main class consisting of    and 23(b)(2) will still be met under this amended
"recipients of public assistance, [*10] food stamps      definition, for substantially the same reasons the
and/or Medicaid who have received or will receive        Court outlined in its earlier class certification deci-
a notice from the New York City Human Resources          sion. See Lovely H., 235 F.R.D. at 254-257. Accor-
Administration involuntarily transferring their case     dingly, Plaintiffs' motion to amend the main class
to one of three 'hub' centers in Manhattan, the          definition is granted. Because the subclass is de-
Bronx or Brooklyn in connection with the We-             fined in terms of the main class, there is no need to
CARE program." Lovely H., 235 F.R.D. at 258.             amend the subclass definition as well.
Plaintiffs ask the Court to amend the main class
definition to cover "recipients of public assistance,    CONCLUSION
food stamps and/or Medicaid who are or will be
                                                              For the foregoing reasons, the Court grants the
designated as participants in the WeCARE pro-
                                                         Plaintiffs' motions to amend the Complaint, to in-
gram." Defendants argue that this amended defini-
                                                         tervene three additional named party Plaintiffs and
tion would substantially broaden the scope of the
                                                         for an amendment of the class definition. Class
litigation and point out that any class certified by
                                                         members Courtney B., Laura S. and Eula S. are
the Court must meet Rule 23(a)'s requirements of
                                                         granted permission to intervene as named Plaintiffs.
numerosity, commonality, typicality and adequacy
                                                         The main class definition is amended to be "reci-
of representation.
                                                         pients of public assistance, food stamps and/or Me-
    Fed. R. Civ. P. 23(c)(1)(C) provides that "[a]n      dicaid who are or will be designated as participants
order under Rule 23(c)(1) may be altered or              in the WeCARE program."
amended before final judgment." Because of HRA's
                                                              Plaintiffs [*12] shall serve and file an amended
decision to close down the Hub Centers associated
                                                         complaint no later than two weeks from the date of
with the WeCARE program, notifications of invo-
                                                         this Order.
luntary transfers will no longer be sent out. Howev-
er, as discussed above, class members continue to            SO ORDERED.
assert viable claims in this case regarding [*11]            Dated: New York, New York
alleged failure to provide reasonable accommoda-
tions at the neighborhood Job Centers. Thus,                 November 15,2006
amending the class definition to focus on designa-           LAURA TAYLOR SWAIN
tion to WeCARE rather than receipt of a transfer
notice is an appropriate action at this time. The            United States District Judge
Court notes that the requirements of Rules 23(a)
